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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                               )
THE STATE OF ALABAMA, et al.,                  )
                                               )
Plaintiffs,                                    )
                                               )
        v.                                     )        Civil Action No. _________
                                               )
PHH MORTGAGE CORPORATION,                      )
                                               )
Defendant.                                     )
                                               )
                                               )

                                   CONSENT JUDGMENT

        WHEREAS, Plaintiffs, the States of Alabama, Alaska, Arizona, Arkansas, California,

Colorado, Connecticut, Delaware, Florida, Georgia, Hawaii, Idaho, Illinois, Indiana, Iowa,

Kansas, Louisiana, Maine, Maryland, Michigan, Minnesota, Mississippi, Missouri, Montana,

Nebraska, Nevada, New Jersey, New Mexico, New York, North Carolina, North Dakota, Ohio,

Oklahoma, Oregon, Rhode Island, South Carolina, South Dakota, Tennessee, Texas, Utah,

Vermont, Washington, West Virginia, Wisconsin, Wyoming, the Commonwealths of Kentucky,

Massachusetts, Pennsylvania and Virginia, and the District of Columbia (collectively, the

“Attorneys General” or “Plaintiffs”) filed their Complaint on January 3, 2018, alleging that PHH

Mortgage Corporation (“PHH,” “Defendant” or “Servicer”) either itself or through its affiliates

or subsidiaries violated, among other laws, the Unfair and Deceptive Acts and Practices laws of

the Plaintiffs’ States and the Consumer Financial Protection Act of 2010;

        WHEREAS, the Parties have agreed to resolve their claims without the need for

litigation;
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        WHEREAS, the Attorneys General and Defendant enter into this Consent Judgment with

the understanding that the State Mortgage Regulators have contemporaneously entered into a

Settlement Agreement and Consent Order with PHH (the “State Mortgage Regulators’ Consent

Order”) in coordination with this Consent Judgment in order to resolve findings identified in the

course of the Multi-State Examination of Defendant PHH.

        WHEREAS, Defendant, by its attorneys, have consented to entry of this Consent

Judgment without trial or adjudication of any issue of fact or law and to waive any appeal if the

Consent Judgment is entered as submitted by the parties;

        WHEREAS, Defendant, by entering into this Consent Judgment, does not admit any

allegations of wrongdoing or violations of applicable laws, regulations, or rules governing the

conduct and operation of its servicing business, other than those facts of the Complaint deemed

necessary to the jurisdiction of this Court;

        WHEREAS, the intention of the Attorneys General in effecting this settlement is to

remediate harms allegedly resulting from the alleged unlawful conduct of the Defendant, either

itself or through its affiliates or subsidiaries;

        AND WHEREAS, Defendant has agreed to waive service of the Complaint and

Summons and hereby acknowledge the same;

        NOW THEREFORE, without trial or adjudication of issues of fact or law, without this

Consent Judgment constituting evidence against Defendant except as otherwise noted, and upon

consent of Defendant, the Court finds that there is good and sufficient cause to enter this Consent

Judgment, and that it is therefore ORDERED, ADJUDGED, AND DECREED:




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                                       I.     JURISDICTION

       1.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §§ 1331 and 1367 and 12 U.S.C. §§ 5552 and 5565, and over Defendant. The Complaint

states a claim upon which relief may be granted against Defendant. Venue is appropriate in this

District pursuant to 28 U.S.C. § 1391(b)(2) and 12 U.S.C. § 5564(f).

                              II.          SERVICING STANDARDS

       2.      Defendant shall comply with the Servicing Standards, attached hereto as Exhibit

A, in accordance with their terms.

       3.      Defendant shall implement the Servicing Standards no later than January 1, 2018

or as otherwise stated in Exhibit A, or the date on which this Consent Judgment has been entered

by the Court, whichever is later (“Implementation Date”).

                                    III.     FINANCIAL TERMS

       4.      Settlement Amount. Defendant shall pay forty-five million, two hundred and

seventy-nine thousand, seven hundred and twenty-five dollars ($45,279,725), which shall be

known as the “Settlement Amount,” and which shall be distributed in the manner and for the

purposes specified in this Consent Judgment and in Exhibit B.

       5.      The Settlement Amount is comprised of: (a) Payments to Foreclosed and Referred

Borrowers; (b) Attorneys’ Fees and Costs payable to the Investigating Attorneys General; and (c)

Administrative Penalty payable to the State Mortgage Regulators further defined in Paragraph 8.

       6.      Payments to Foreclosed and Referred Borrowers. In accordance with written

instructions from the Executive Committee, established in Paragraph 12, and for the purposes set

forth in the State Mortgage Regulators’ Consent Order and Exhibit B of this Consent Judgment,

Defendant shall transfer to the Settlement Administrator appointed under Exhibit B thirty-one



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million, four hundred and fifty-six thousand, two hundred and ten dollars ($31,456,210) (the

“Borrower Payment Amount”) to enable the Settlement Administrator to provide cash payments

to (a) borrowers whose loans were serviced by PHH at the time the foreclosure was completed

and whose homes were sold or taken in foreclosure between and including January 1, 2009, and

December 31, 2012, or (b) all other borrowers whose loans were serviced by PHH and referred

to foreclosure during that same time period and not accounted for in (a) above; who submit

claims allegedly arising from the Covered Conduct (as that term is defined in Exhibit C hereto);

and who otherwise meet criteria set forth by the Executive Committee; and to pay the reasonable

costs and expenses of the Settlement Administrator, including taxes and fees for tax counsel, if

any. Defendant shall also pay or cause to be paid any additional amounts necessary to pay

claims, if any, of borrowers whose data is provided to the Settlement Administrator by

Defendant after Defendant warrants that the data is complete and accurate pursuant to Paragraph

3 of Exhibit B. The Borrower Payment Amount and any other funds provided to the Settlement

Administrator for these purposes shall be administered in accordance with the terms set forth in

Exhibit B. Defendant shall pay the Borrower Payment Amount by electronic funds transfer,

pursuant to written instructions to be provided by the Executive Committee into an account

established in accordance with this Paragraph 6, within seven (7) days of receiving notice that

the account has been established or within seven (7) days of the Date of Entry of this Consent

Judgment, whichever is later. After Defendant has made the required payments, Defendant shall

no longer have any property right, title, interest or other legal claim in any funds. The account

established by this Paragraph 6 is intended to be a Qualified Settlement Fund within the meaning

of Treasury Regulation Section 1.468B-1 of the U.S. Internal Revenue Code of 1986, as

amended.



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       7.      Attorneys’ Fees and Costs. Defendant shall pay to the Investigating Attorneys

General a total of five million dollars ($5,000,000), to be used for attorney’s fees, investigative

costs and fees, future expenditures relating to the investigation and prosecution of cases

involving fraud, unfair and deceptive acts and practices, and other illegal conduct related to

financial services or state consumer protection laws to the extent practicable or as otherwise

agreed to by law. The $5,000,000 shall be distributed in accordance with Exhibit D, and such

payments shall be made to the State Attorneys General of Arizona, California, Colorado,

Connecticut, Florida, Illinois, Iowa, Nevada, North Carolina, Ohio, Texas, and Washington.

Payment shall be made within ten (10) calendar days of Defendant’s receipt of written payment

processing instructions from each Investigating Attorney General.

       8.      Administrative Penalty. As required by the State Mortgage Regulators’ Consent

Order, Defendant shall pay eight million, eight hundred and twenty-three thousand, five hundred

and fifteen dollars ($8,823,515) as an administrative penalty. Payment shall be made in

accordance with the terms of the State Mortgage Regulators’ Consent Order.

    IV.      SERVICING STANDARDS COMPLIANCE TESTING AND REPORTING

       9.       Internal and/or External Compliance Testing. Servicer shall conduct

transactional testing and compliance/controls testing, either internally and/or by retaining the

services of a third-party firm, to assess Servicer’s compliance with the Servicing Standards

attached as Exhibit A to this Consent Judgment. The testing shall be conducted in the ordinary

course of Servicer’s business consistent with industry standards and Servicer’s internal testing

schedule, which shall be based on an assessment of high risk areas and emerging trends.

       10.     PHH Internal Audit. PHH shall ensure that the Internal Audit Department of its

parent company conducts audits of Servicer’s servicing functions, including Servicer’s



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compliance with the Servicing Standards. Servicer shall include the Servicing Standards in its

annual risk assessment, which forms the basis for its annual audit plan, and shall conduct audits

in accordance with its annual risk assessment and annual audit plan.

       11.     Corrective Action Activity. In the event any deficiencies are identified through

testing or audits, Servicer shall perform a root cause analysis and determine whether corrective

action activity, including a plan for remediation of any consumer harm, is necessary.

       12.     Executive Committee. An executive committee comprised of representatives of

the government signatories to this Consent Judgment and the State Mortgage Regulators’

Consent Order (“Executive Committee”) shall serve as the point of contact between Servicer and

the government signatories and shall receive reports and communications from Servicer.

       13.     Reports. Servicer shall submit to the State Attorneys General of Executive

Committee on a quarterly basis (1) any PHH Internal Audit reports conducted on Servicer’s

compliance with the Servicing Standards during the preceding quarter; (2) any internal or

external transactional testing results and compliance/controls testing results conducted; and (3)

any root-cause analysis or plan for corrective action activity developed or performed by Servicer

during the preceding quarter (collectively, “Reports”). Servicer shall submit Reports on the 20th

day of the month following the end of each quarter, beginning on the 20th day of the month

following the end of the first full quarter of 2018.

       14.     Confidentiality. Servicer does not waive any privileges it may otherwise assert by

submitting Reports pursuant to this section. Specifically, Servicer shall designate as

“CONFIDENTIAL” that portion of any report, supervisory and any supporting information,

document, or portion of a document or other tangible thing provided by Servicer to the State

Attorneys General of Executive Committee, any member thereof, or to any government signatory



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that Servicer believes contains a trade secret or confidential research, development, or

commercial information subject to protection under applicable state or federal laws (collectively,

“Confidential Information”). The following provisions shall apply to the treatment of

Confidential Information:

               a.      Except as provided by these provisions, all Confidential Information shall

be identified as such in a document executed by a representative of Servicer prior to or

simultaneous with furnishing of a Report and shall cite the basis for the privilege asserted as to

each identified portion.

               b.      The Executive Committee, any member of the Executive Committee, and

any government signatory receiving Reports agree to protect Confidential Information to the

extent permitted by law, except as needed to support a public enforcement action.

               c.      A government signatory who is not a member of the Executive Committee

may request and obtain Reports provided that it (i) agrees to adhere to the provisions herein; and

(ii) participates in a meet and confer with the Executive Committee to discuss its request.

               d.      To the extent that the Executive Committee, any Member of the Executive

Committee, or any government signatory receives a subpoena or court order or other request for

production of Confidential Information, the government signatory shall, unless prohibited under

applicable law, notify Servicer of such request and if the government signatory or participating

state is required to disclose Confidential Information pursuant to state or federal law, advise

Servicer of the disclosure as soon as is practicable to enable Servicer to seek a protective order or

stay of production of documents.




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               e.      The confidentiality provisions of Paragraph 14 are binding on the Parties

only to the extent that it does not violate any court order, constitutional provision, or statute

prohibiting such confidentiality.

       15.     Auditing Period. The auditing and reporting period shall be for three years,

commencing on January 1, 2018.

                                     V.      ENFORCEMENT

       16.     Prior to initiating an action to enforce this Consent Judgment, a government

signatory shall: (1) provide written notice to the Executive Committee and Servicer of the basis

for the potential action and a description of its allegations; (2) allow Servicer 15 days to respond

to such notice in writing; and (3) participate in a meet and confer with Servicer if so requested

during the 15-day period.

       17.     This Consent Judgment shall in no way preclude the State Attorneys General from

immediately bringing an action without notice against Servicer if necessary to prevent immediate

and irreparable harm and protect the health, safety, and welfare of the public.

       18.      This Court retains jurisdiction to enforce the terms of this Consent Judgment.

The Parties may jointly seek to modify the terms of this Consent Judgment, subject to the

approval of this Court. This Consent Judgment may be modified only by order of this Court.

       19.     This Consent Judgment shall in no way preclude the State Mortgage Regulators

from exercising their examination or investigative authority authorized under the laws of the

participating states. Further, nothing in this Consent Judgment shall impede a state regulator’s

authority to seek the suspension or revocation of a license to protect the general public of that

state, or the process or venue used to that end.




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                                         VI.     RELEASE

       20.     The Attorneys General and Defendant have agreed, in consideration for the terms

provided herein, for the release of certain claims and remedies, as provided in the State Release,

attached hereto as Exhibit C. The Attorneys General and Defendant have also agreed that certain

claims and remedies are not released, as provided in Part III of Exhibit C. The releases

contained in Exhibit C shall become effective upon payment of the Settlement Amount by

Defendant.

                                     VII.      OTHER TERMS

       21.     Any Attorney General may withdraw from the Consent Judgment and declare it

null and void with respect to that party if PHH fails to make any payment required under this

Consent Judgment and such non-payment is not cured within thirty days of written notice by the

withdrawing Attorney General.

       22.     The Effective Date of this Consent Judgment shall be the date on which the

Consent Judgment has been entered by the Court and has become final and non-appealable. An

order entering the Consent Judgment shall be deemed final and non-appealable for this purpose if

there is no party with a right to appeal the order on the day it is entered.

       23.     The Servicing Standards attached as Exhibit A shall remain in full force and

effect for three years from the Implementation Date, at which time the Defendant’s obligations to

comply with the Servicing Standards shall expire.

       24.     This Consent Judgment (including the Servicing Standards attached as Exhibit A)

is binding on the signatory Attorneys General and PHH Mortgage Corporation. This Consent

Judgment (including the Servicing Standards attached as Exhibit A) does not bind any successors

or assigns, future purchasers of all or substantially all of the assets of PHH Corporation or PHH



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Mortgage Corporation or successors-in-interest of PHH Corporation or PHH Mortgage

Corporation. Notwithstanding the foregoing, in the event of the sale of Servicer’s servicing or

sub-servicing platform, Servicer will work with the government signatories to ensure an orderly

transition of serviced loans to any new servicer or sub-servicer of such loans.

       25.      Nothing in this Consent Judgment shall relieve Defendant of its obligation to

comply with applicable state and federal law.

       26.      The sum and substance of the parties’ agreement and of this Consent Judgment

are reflected herein and in the Exhibits attached hereto. In the event of a conflict between the

terms of the Exhibits and Paragraphs 1-26 of this summary document, the terms of the Exhibits

shall govern.


SO ORDERED this ____ day of __________________, 2018



                              ______________________________________
                              UNITED STATES DISTRICT JUDGE




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                                     Servicing Standards
The provisions outlined below are intended to apply to loans secured by owner-occupied properties
that serve as the primary residence of the borrower unless otherwise noted herein.
I.     FORECLOSURE AND BANKRUPTCY INFORMATION AND DOCUMENTATION.
       Unless otherwise specified, these provisions shall apply to bankruptcy and foreclosures in
       all jurisdictions regardless of whether the jurisdiction has a judicial, non-judicial, or quasi-
       judicial process for foreclosures and regardless of whether a statement is submitted during
       the foreclosure or bankruptcy process in the form of an affidavit, sworn statement, or
       declaration[s] under penalty of perjury (to the extent stated to be based on personal
       knowledge) (“Declaration”).
       A.     Standards for Documents Used in Foreclosure and Bankruptcy Proceedings.
              1.      Servicer shall ensure that factual assertions made in pleadings (complaint,
                      counterclaim, cross-claim, answer, or similar pleadings), bankruptcy proofs
                      of claim (including any facts provided by Servicer or based on information
                      provided by Servicer that are included in any attachment and submitted to
                      establish the truth of such facts) (“POC”), Declarations, affidavits, and
                      sworn statements filed by or on behalf of Servicer in judicial foreclosures
                      or bankruptcy proceedings and notices of default, notices of sale, and
                      similar notices submitted by or on behalf of Servicer in non-judicial
                      foreclosures are accurate and complete and are supported by competent and
                      reliable evidence. Before a loan is referred to non-judicial foreclosure,
                      Servicer shall ensure that such evidence (including all documents and
                      records pertaining to the borrower’s loan status and loan information) has
                      been reviewed to substantiate the borrower’s default and the right to
                      foreclose. Servicer shall retain a copy of any and all documents and records
                      which substantiate the initiation of a foreclosure action, including copies of
                      all documents related to non-judicial foreclosure actions.
              2.      Servicer shall ensure that affidavits, sworn statements, and Declarations are
                      based on personal knowledge, which may be based on the affiant’s review of
                      Servicer’s books and records, in accordance with the evidentiary requirements
                      of applicable state or federal law.
              3.      Servicer shall ensure that affidavits, sworn statements, and Declarations
                      executed by Servicer’s affiants are based on the affiant’s review and personal
                      knowledge of the accuracy and completeness of the assertions in affidavit,
                      sworn statement, or Declaration, set out facts that Servicer reasonably believes
                      would be admissible in evidence, and show that the affiant is competent to
                      testify on the matters stated. Affiants shall confirm that they have reviewed
                      competent and reliable evidence to substantiate the borrower’s default and the
                      right to foreclose, including the borrower’s loan status and required loan
                      ownership information. If an affiant relies on a review of business records for
                      the basis of its affidavit, the referenced business record shall be attached if
                      required by applicable state or federal law or court rule. This provision does not
                      apply to affidavits, sworn statements, and Declarations signed by counsel based

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        solely on counsel’s personal knowledge (such as affidavits of counsel relating
        to service of process, extensions of time, or fee petitions) that are not based on
        a review of Servicer’s books and records. Separate affidavits, sworn statements,
        or Declarations shall be used when one affiant does not have requisite personal
        knowledge of all required information.
  4.    Servicer shall have adequate standards for qualifications, training, and
        supervision of employees. Servicer shall train and supervise employees who
        regularly prepare or execute affidavits, sworn statements, or Declarations.
        Each such employee shall sign a certification that he or she has received the
        training. Servicer shall oversee the training completion to ensure each
        required employee properly and timely completes such training. Servicer
        shall maintain written records confirming that each such employee has
        completed the training and the subjects covered by the training.
  5.    Effective April 1, 2018 and as it relates solely to foreclosure proceedings,
        Servicer shall review and approve standardized forms of affidavits,
        standardized forms of sworn statements, and standardized forms of
        Declarations prepared by or signed by an employee or officer of Servicer,
        or executed by a third party using a power of attorney on behalf of Servicer,
        to ensure compliance with applicable law, rules, court procedure, and the
        terms of this Agreement (“this Agreement”).
  6.    As it relates solely to foreclosure proceedings, affidavits, sworn statements,
        and Declarations shall accurately identify the name of the declarant/affiant
        (“affiant”), the entity of which the affiant is an employee, the affiant’s title,
        and the affiant’s duties or responsibilities. Affiants shall date their signatures
        on affidavits, sworn statements, or Declarations.
  7.    Servicer shall assess and ensure that it has an adequate number of employees
        and that employees have reasonable time to prepare, verify, and execute
        pleadings, POCs, motions for relief from stay (“MRS”), affidavits, sworn
        statements, and Declarations.
  8.    Servicer shall not pay volume-based or other incentives to employees or
        third-party providers or trustees that encourage undue haste or lack of due
        diligence over quality.
  9.    Affiants shall be individuals, not entities, and affidavits, sworn statements,
        and Declarations shall be signed by the affiant.
  10.   Servicer shall maintain records in accordance with applicable state record
        retention requirements and state notary laws that identify all notarizations of
        Servicer documents executed by each notary employed by Servicer.
  11.   Servicer shall not file a POC in a bankruptcy proceeding which, when filed,
        contained materially inaccurate information. In cases in which such a POC
        may have been filed, Servicer shall not rely on such POC and shall (a) in
        active cases, at Servicer’s expense, take appropriate action, consistent with
        state and federal law and court procedure, to substitute such POC with an
        amended POC as promptly as reasonably practicable (and, in any event, not

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              more than 45 days after acquiring actual knowledge of such material
              inaccuracy and provide appropriate written notice to the borrower or
              borrower’s counsel; and (b) in other cases, at Servicer’s expense, take
              appropriate action after acquiring actual knowledge of such material
              inaccuracy.
       12.    Servicer shall not rely on an affidavit of indebtedness or similar affidavit,
              sworn statement, or Declaration filed in a pending pre-judgment judicial
              foreclosure or bankruptcy proceeding which (a) was required to be based
              on the affiant’s review and personal knowledge of its accuracy but was not,
              (b) was not, when so required, properly notarized, or (c) contained materially
              inaccurate information in order to obtain a judgment of foreclosure, order
              of sale, relief from the automatic stay, or other relief in bankruptcy. In
              pending cases in which such affidavits, sworn statements, or Declarations
              may have been filed, Servicer shall, at Servicer’s expense, take appropriate
              action, consistent with state and federal law and court procedure, to
              substitute such affidavits with new affidavits and provide appropriate
              written notice to the borrower or borrower’s counsel. In pending post-
              judgment, pre-sale cases in judicial foreclosure proceedings in which an
              affidavit or sworn statement was filed which was required to be based on
              the affiant’s review and personal knowledge of its accuracy but may not
              have been, or that may not have, when so required, been properly notarized,
              and such affidavit or sworn statement has not been re-filed, Servicer, unless
              prohibited by state or local law or court rule, will provide written notice to
              borrower at borrower’s address of record or borrower’s counsel prior to
              proceeding with a foreclosure sale or eviction proceeding.
       13.    Prior to making the first notice or filing required by applicable law for any
              judicial or non-judicial foreclosure process, Servicer shall validate the note
              or, if necessary, create a lost note affidavit, and Servicer shall conduct a
              legal entity review, which will include a chain of title review as well as
              verification of the identity of the investor. Within five days after referral to
              foreclosure, Servicer shall send borrowers a letter containing the
              information required in paragraphs I.B.7, IV.D.5, and IX.A.2 of this
              Agreement. In addition, delinquent borrowers currently receiving regular
              periodic statements will receive periodic statements as indicated in
              paragraph I.B.12. For delinquent borrowers who are delinquent by more
              than 45 days currently using a coupon book, a delinquency notice compliant
              with applicable law will be provided.
B.     Requirements for Accuracy and Verification of Borrower’s Account Information.
       1.     Servicer shall maintain procedures to ensure accuracy and timely updating
              of borrower’s account information, including posting of payments and
              imposition of fees. Servicer shall also maintain adequate documentation of
              borrower account information, which may be in either electronic or paper
              format.
       2.     Unless a contrary payment application is required by the mortgage, note, or

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        court order, Servicer must apply payments in accordance with the
        borrower’s instructions. Servicer’s payment coupons and online payment
        submission screen must include a payment instruction line for any payment
        or payment portion that exceeds the current amount due. Servicer must
        engage in good faith efforts to resolve disputes brought to Servicer’s
        attention concerning the borrower’s instructions.
  3.    Servicer shall credit a periodic payment to the consumer’s loan account as
        of the date of receipt, except when a delay in crediting does not result in any
        charge to the consumer or in the reporting of negative information to a
        consumer reporting agency. However, if Servicer specifies in writing
        requirements for the consumer to follow in making payments, but accepts a
        payment that does not conform to the requirements, Servicer shall credit the
        payment as of five days after receipt. A periodic payment, as used in this
        paragraph, is an amount sufficient to cover principal, interest, and escrow
        (if applicable) for a given billing cycle. A payment qualifies as a periodic
        payment even if it does not include amounts required to cover late fees,
        other fees, or non-escrow payments a servicer has advanced on a
        consumer’s behalf.
  4.    For any loan on which interest is calculated based on a daily accrual or daily
        interest method and as to which any obligor is not a debtor in a bankruptcy
        proceeding without reaffirmation, Servicer shall promptly accept and apply
        all borrower payments, including cure payments (where authorized by law
        or contract), trial modification payments, as well as non-conforming
        payments, unless such application conflicts with contract provisions or
        prevailing law. Servicer shall ensure that properly identified payments shall
        be posted no more than five business days after receipt at the address
        specified by Servicer and credited as of the date received to borrower’s
        account (unless applicable law requires a shorter period for posting).
  5.    For any loan on which interest is not calculated based on a daily accrual or
        daily interest method and as to which any obligor is not a debtor in a
        bankruptcy proceeding without reaffirmation, Servicer shall promptly
        accept and apply all borrower conforming payments, including cure
        payments (where authorized by law or contract), unless such application
        conflicts with contract provisions or prevailing law. Servicer shall continue
        to accept trial modification payments consistent with existing payment
        application practices. Servicer shall ensure that properly identified
        payments shall be posted no more than five business days after receipt at
        the address specified by Servicer (unless applicable law requires a shorter
        period for posting).
        a.     Servicer shall accept and apply at least two non-conforming
               payments from the borrower, in accordance with this subparagraph,
               when the payment, whether on its own or when combined with a
               payment made by another source, comes within $50.00 of the
               scheduled payment, including principal and interest and, where
               applicable, taxes and insurance.

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        b.     Except for payments described in paragraph I.B.5.a, Servicer may
               post partial payments to a suspense or unapplied funds account,
               provided that Servicer (1) for borrowers who receive periodic
               statements discloses to the borrower the existence of a suspense or
               unapplied funds account and any activity in the suspense or
               unapplied funds account; (2) credits the borrower’s account with a
               full payment as of the date that the funds in the suspense or unapplied
               funds account are sufficient to cover such full payment; and (3)
               applies payments as required by the terms of the loan documents.
               Servicer shall not take funds from suspense or unapplied funds
               accounts to pay fees until all unpaid contractual interest, principal,
               and escrow amounts are paid and brought current or other final
               disposition of the loan.
  6.    Notwithstanding the provisions above, Servicer shall not be required to
        accept payments which are insufficient to pay the full balance due after the
        borrower has been provided written notice that the contract has been
        declared in default and the remaining payments due under the contract have
        been accelerated.
  7.    In the statements described in paragraph I.A.13, Servicer shall notify
        borrowers that they may receive, upon written request:
        a.     A copy of the borrower’s payment history since the borrower was
               last less than 60 days past due;
        b.     A copy of the borrower’s note;
        c.     If Servicer has commenced foreclosure or filed a POC, copies of any
               assignments of mortgage or deed of trust required to demonstrate the
               right to foreclose on the borrower’s note under applicable state law;
               and
        d.     The name of the investor that holds the borrower’s loan.
  8.    As described in paragraph I.B.7, above, Servicer shall respond to a
        borrower’s written request in writing, no later than 30 days after receipt of
        a borrower’s written request.
  9.    Servicer shall adopt enhanced billing dispute procedures, including for
        disputes regarding fees. These procedures will include:
        a.     Establishing readily available methods for customers to lodge
               complaints and pose questions, such as by providing toll-free
               telephone numbers and accepting disputes via electronic means (if
               available);
        b.     Assessing and ensuring adequate and competent staff to answer and
               respond to consumer disputes promptly;
        c.     Establishing a process for dispute escalation;
        d.     Tracking the resolution of complaints; and

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        e.     Providing a toll-free telephone number on monthly billing
               statements.
        f.     Servicer shall comply with all other requirements of Section VIII of
               this Agreement in responding to billing disputes.
  10.   Servicer shall take appropriate action to promptly remediate any
        inaccuracies in borrowers’ account information, including:
        a.     Correcting the account information;
        b.     Providing refunds directly to borrower or account credits;
        c.     Correcting inaccurate reports to consumer credit reporting agencies;
        d.     Communicating whatever corrective action was taken to the
               borrower and any authorized third party working on behalf of the
               borrower; and
        e.     Documenting within the system of record whatever corrective action
               was taken and communicated to the borrower or the borrower’s
               representative.
  11.   Servicer’s system of record shall be periodically independently reviewed for
        accuracy and completeness by an external auditor or Servicer’s internal
        audit department.
  12.   As indicated in paragraph I.A.13, Servicer shall send the borrower a periodic
        statement or, as applicable, a delinquency notice setting forth each of the
        following items, to the extent applicable:
        a.     The total amount needed to reinstate or bring the account current, and
               the amount of the principal obligation under the mortgage;
        b.     The date through which the borrower’s obligation is paid;
        c.     The date of the last full payment;
        d.     The current interest rate in effect for the loan (if the rate is effective
               for at least 30 days);
        e.     The date on which the interest rate may next reset or adjust (unless
               the rate changes more frequently than once every 30 days);
        f.     The amount of any prepayment fee to be charged, if any;
        g.     A description of any late payment fees;
        h.     A telephone number and electronic mail address that may be used
               by the obligor to obtain information regarding the mortgage; and
        i.     The Web site to access either the Consumer Financial Protection
               Bureau list or the HUD list of homeownership counselors and
               counseling organizations and the HUD toll-free telephone number
               to access contact information for homeownership counselors or
               counseling organizations.


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       13.    In active chapter 13 cases, Servicer shall ensure that:
              a.     Prompt and proper application of payments is made on account of
                     (a) pre-petition arrearage amounts and (b) post-petition payment
                     amounts and posting thereof as of the successful consummation of
                     the effective confirmed plan;
              b.     The debtor is treated as being current so long as the debtor is making
                     payments in accordance with the terms of the then-effective
                     confirmed plan and any later effective payment change notices; and
              c.     As of the date of dismissal of a debtor’s bankruptcy case, entry of
                     an order granting Servicer relief from the stay, or entry of an order
                     granting the debtor a discharge, there is a reconciliation of payments
                     received with respect to the debtor’s obligations during the case and
                     appropriately update Servicer’s systems of record. In connection
                     with such reconciliation, Servicer shall reflect the waiver of any fee,
                     expense or charge pursuant to paragraphs III.B.1.c.i or III.B.1.d.
C.     Documentation of Note, Holder Status and Chain of Assignment.
       1.     If the original note is lost or otherwise unavailable, Servicer shall comply
              with applicable law in an attempt to establish ownership of the note and the
              right to enforcement. Servicer shall ensure good faith efforts to obtain or
              locate a note lost while in the possession of Servicer or Servicer’s agent and
              shall ensure that Servicer and Servicer’s agents who are expected to have
              possession of notes or assignments of mortgage on behalf of Servicer adopt
              procedures that are designed to provide assurance that Servicer or Servicer’s
              agent would locate a note or assignment of mortgage if it is in the possession
              or control of Servicer or Servicer’s agent, as the case may be. In the event
              that Servicer prepares or causes to be prepared a lost note or lost assignment
              affidavit with respect to an original note or assignment lost while in
              Servicer’s control, Servicer shall use good faith efforts to obtain or locate
              the note or assignment in accordance with its procedures. In the affidavit,
              sworn statement or other filing documenting the lost note or assignment,
              Servicer shall recite that Servicer has made a good faith effort in accordance
              with its procedures for locating the lost note or assignment.
       2.     Servicer shall not intentionally destroy or dispose of original notes that are
              still in force.
D.     Bankruptcy Documents.
       1.     Proofs of Claim (“POC”). Servicer shall ensure that POCs filed on behalf
              of Servicer are documented in accordance with the United States
              Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, and any
              applicable local rule or order (“Bankruptcy Law”). Unless not permitted by
              statute or rule, Servicer shall ensure that each POC is documented by
              attaching:
              a.     The original or a duplicate of the note, including all indorsements; a
                     copy of any mortgage or deed of trust securing the notes (including,

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               if applicable, evidence of recordation in the applicable land records);
               and copies of any assignments of mortgage or deed of trust required
               to demonstrate the right to foreclose on the borrower’s note under
               applicable         state       law         (collectively,        “Loan
               Documents”). If the note has been lost or destroyed, a lost note
               affidavit shall be submitted.
        b.     If, in addition to its principal amount, a claim includes interest, fees,
               expenses, or other charges incurred before the petition was filed, an
               itemized statement of the interest, fees, expenses, or charges shall
               be filed with the proof of claim (including any expenses or charges
               based on an escrow analysis as of the date of filing) at least in the
               detail specified in Official Forms B 410 and B 410-A (April 1,
               2016or as amended).
        c.     A statement of the amount necessary to cure any default as of the
               date of the petition shall be filed with the proof of claim.
        d.     If a security interest is claimed in property that is the debtor’s
               principal residence, the attachment prescribed by the appropriate
               Official Form (Official Form B 410-A effective December 1, 2015or
               as amended) shall be filed with the proof of claim.
        e.     Servicer shall include a statement in a POC (or in an attachment filed
               with the POC) setting forth the basis for asserting that the applicable
               party has the right to foreclose.
        f.     The POC shall be signed (either by hand or by appropriate electronic
               signature) by the person responsible for reviewing the debtor’s
               account and billing record, which may include the Servicer or the
               Servicer’s bankruptcy attorney, under penalty of perjury after
               reasonable investigation, stating that the information set forth in the
               POC is true and correct to the best of such responsible person’s
               knowledge, information, and reasonable belief, and it shall clearly
               identify the person’s employer, the person’s position or title with the
               employer, and the person’s responsibilities and duties for the
               employer.
  2.    Motions for Relief from Stay (“MRS”). Effective April 1, 2018, unless
        not permitted by a specific jurisdiction, court, or Bankruptcy Law, and to
        the extent not previously filed with the court, Servicer shall ensure that each
        MRS in a chapter 13 proceeding is documented by attaching to, or including
        in the motion:
        a.     A copy of the loan documents. If the promissory note has been lost
               or destroyed, a lost note affidavit shall be submitted.
        b.     A statement setting forth the basis for asserting that the applicable
               party has the right to foreclose.
        c.     An affidavit, sworn statement, or Declaration made by Servicer or
               based on information provided by Servicer (“MRS affidavit” which

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                      term includes, without limitation, any facts provided by Servicer that
                      are included in any attachment and submitted to establish the truth
                      of such facts) setting forth:
                      i.      Whether there has been a default in paying pre-petition
                              arrearage or post-petition amounts (an “MRS delinquency”);
                      ii.     If there has been such a default, (a) the unpaid principal
                              balance, (b) a description of any default with respect to the
                              pre-petition arrearage, (c) a description of any default with
                              respect to the post-petition amount (including, if applicable,
                              any escrow shortage), (d) the amount of the pre-petition
                              arrearage (if applicable), (e) the post-petition payment
                              amount, (f) for the period since the date of the first post-
                              petition or pre-petition default that is continuing and has not
                              been cured, the date and amount of each payment made
                              (including escrow payments) and the application of each
                              such payment, and (g) the amount, date, and description of
                              each fee or charge applied to such pre-petition amount or
                              post-petition amount since the later of the date of the petition
                              or the preceding statement pursuant to paragraph III.B.1.a;
                              and
                      iii.    All amounts claimed, including a statement of the amount
                              necessary to cure any default on or about the date of the
                              MRS.
              d.      All other attachments prescribed by statute, rule, or law.
              e.      Servicer shall ensure that any MRS discloses the terms of any trial
                      period or permanent loan modification plan pending at the time of
                      filing of a MRS or whether the debtor is being evaluated for a loss
                      mitigation option.
E.     Quality Assurance Systems Review.
       Servicer shall conduct regular pre-filing reviews of a statistically valid sample of
       POCs, MRS, and mortgage creditor specific notices and filings required under
       Federal Rule of Bankruptcy Procedure 3002.1 (e.g., notices of payment changes,
       notices of post-petition fees, expenses, and charges, and responses to notices of
       final cure) (collectively “Bankruptcy Filings”) to ensure that the Bankruptcy Filings
       are accurate and comply with prevailing law and this Agreement. The reviews shall
       also verify the accuracy of the statements in Bankruptcy Filings. Servicer shall take
       appropriate remedial steps if deficiencies are identified, including appropriate
       remediation in individual cases. The pre-filing review shall be conducted by
       Servicer employees who are separate and independent of the persons who prepared
       the Bankruptcy Filings.




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II.   THIRD-PARTY PROVIDER OVERSIGHT.
      A.     Oversight Duties Applicable to Third-Party Providers.
             Servicer shall adopt policies and processes to oversee and manage third party
             providers, such as foreclosure firms, law firms, foreclosure trustees, subservicers,
             and other agents, independent contractors and entities retained by Servicer that
             provide foreclosure, bankruptcy, or mortgage servicing activities (including, but
             not limited to, loss mitigation, property preservation, homeowner’s insurance, and
             real-estate owned services) (collectively, such activities are “Servicing Activities”
             and such providers are “Third-Party Providers”), including:
             1.     Servicer shall perform appropriate due diligence of Third-Party Providers’
                    qualifications, expertise, capacity, reputation, complaints, information
                    security, document custody practices, business continuity, and financial
                    viability.
             2.     Servicer shall ensure that it complies with all aspects of this Agreement and
                    applicable state and federal laws or regulations, including, but not limited to,
                    Servicing Activities performed by Third-Party Providers.
             3.     Servicer shall ensure that agreements, contracts, or oversight policies
                    provide for adequate oversight, including measures to enforce Third-Party
                    Provider contractual obligations, and to ensure timely action with respect to
                    Third-Party Provider performance failures. Servicer will ensure that all
                    loan level information for activities performed by consumer-facing Third
                    Party Providers will be available to state mortgage regulators for review.
                    Books and records of Third-Party Providers who provide consumer-facing
                    Servicing Activities will be made available to the state mortgage regulators
                    to the extent required by applicable state and federal law.
             4.     Servicer shall ensure that foreclosure and bankruptcy counsel and
                    foreclosure trustees have appropriate access to information from Servicer’s
                    books and records necessary to perform their duties in preparing pleadings
                    and other documents submitted in foreclosure and bankruptcy proceedings.
             5.     Servicer shall ensure that all information provided by or on behalf of
                    Servicer to Third-Party Providers in connection with providing Servicing
                    Activities is accurate and complete.
             6.     Servicer shall conduct periodic reviews of Third-Party Providers. These
                    reviews shall include:
                    a.      A review of a sample of the foreclosure and bankruptcy documents
                            prepared by the Third-Party Provider, to provide for compliance with
                            applicable state and federal law and this Agreement in connection
                            with the preparation of the documents, and the accuracy of the facts
                            contained therein;
                    b.      A review of the fees and costs assessed by the Third-Party Provider
                            to provide that only fees and costs that are lawful, reasonable, and
                            actually incurred are charged to borrowers and that no portion of any

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               fees or charges incurred by any Third-Party Provider for technology
               usage, connectivity, or electronic invoice submission is charged as a
               cost to the borrower;
        c.     A review of the Third-Party Provider’s processes to provide for
               compliance with the applicable servicing standards contained in this
               Agreement;
        d.     A review of the security of original loan documents maintained by
               the Third-Party Provider;
        e.     A requirement that the Third-Party Provider disclose to Servicer any
               imposition of sanctions or professional disciplinary action taken
               against them for misconduct related to performance of Servicing
               Activities;
        f.     An assessment of whether bankruptcy attorneys comply with the
               best practice of determining whether a borrower has made a payment
               curing any MRS delinquency within two business days of the
               scheduled hearing date of the related MRS;
        g.     A review of consumer complaints received by attorneys retained by
               Servicer for foreclosure, bankruptcy, and eviction services relating
               to Servicer or Servicing Activities taken by such counsel on behalf
               of Servicer (or if not directly related to Servicer, notice to Servicer
               by counsel of information that has an overall impact to counsel’s
               operations that impact Servicer) and a review of consumer
               complaints received by borrower-facing Third-Party Providers
               relating to Servicer or Servicing Activities taken by such borrower-
               facing Third-Party Providers and, in each case, their response to
               those complaints; and
        h.     A review of all regulatory investigations and regulatory actions
               relating to the Third-Party Provider’s performance of Servicing
               Activities or servicing standards contained in this Agreement unless
               applicable law forbids the Third-Party Provider from sharing such
               information.
        i.     As part of its periodic review of its Third-Party Providers, Servicer
               shall also review and evaluate such Third-Party Providers’ policies
               and procedures regarding the identification and investigation into root
               causes of any deficiencies or issues relating to its performance of
               Servicing Activities, the remediation of any deficiencies or issues,
               and the disclosure of such information to Servicer. Servicer shall
               evaluate the sufficiency of any investigation that is disclosed to
               Servicer and remedial actions taken by such Third-Party Providers as
               it relates to the Servicing Activities and ensure that all deficiencies or
               issues are adequately addressed and corrected.
  7.    The periodic written review set forth in paragraph II.A.6, above, shall be
        conducted by employees independent of the Servicing Activities conducted

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               by Servicer or by an external independent reviewer. The findings,
               methodology, and conclusions of the periodic review shall be memorialized
               in a written report that Servicer must maintain in accordance with paragraph
               X.A.3 of this Agreement. Servicer must make these reports available to the
               Executive Committee upon request. The periodic review and written report
               must occur at least every 18 months for foreclosure, bankruptcy, and
               eviction counsel, unless a shorter period is required by the Executive
               Committee or Servicer discovers a material violation of this Agreement and
               reasonably determines that more frequent reviews are necessary to
               remediate violations and ensure future compliance. The periodic review and
               written report must occur at least every 24-36 months for property
               preservation companies, unless a shorter period is required by the Executive
               Committee or Servicer discovers a material violation of this Agreement and
               reasonably determines that more frequent reviews are necessary to
               remediate violations and ensure future compliance. For all other Third-Party
               Providers, Servicer shall conduct a review and written report within a
               shorter period than is required by its established review governance and
               third-party risk ranking framework if required by the Executive Committee
               or Servicer discovers a material violation of this Agreement and reasonably
               determines that more frequent reviews are necessary to remediate violations
               and ensure future compliance. Servicer shall take appropriate remedial steps
               if problems are identified through this review or otherwise, including, when
               appropriate, terminating its relationship with the Third-Party Provider.
       8.      Servicer shall adopt processes for reviewing and appropriately addressing
               consumer complaints it receives about Third-Party Provider Servicing
               Activities.
       9.      Servicer shall require its Third-Party Providers to provide Servicer with
               notification of a consumer complaint received by the Third-Party Provider
               within five days of receiving the complaint. Servicer shall have access to all
               of the underlying documents surrounding consumer complaints received by
               the Third-Party Provider related to Servicing Activities.
       10.     To the extent that Servicer relies on Third-Party Providers, or the vendors
               of Third-Party Providers, to perform any of the Servicing Activities,
               Servicer acknowledges that Servicer is liable for any noncompliance by any
               such Third-Party Providers or vendors of Third-Party Providers with the
               Servicing Activities.
B.     Restrictions and Oversight Duties Related to Affiliated Third-Party Providers.
       Servicer shall not enter into a contractual relationship for Servicing Activities with a
       Third-Party Provider unless it is the result of an arm’s-length transaction among
       unrelated entities or any fee charged to a borrower does not exceed the lesser of (a) any
       fee limitation or allowable amount for the service under applicable state law, or (b) the
       market rate for the service. To determine the market rate, Servicer shall obtain annual
       market reviews of its affiliated Third-Party Provider’s pricing for such services. Such
       market reviews shall be performed by a qualified, objective, independent third-party

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       professional using procedures and standards generally accepted in the industry to yield
       accurate and reliable results and shall be provided to the Executive Committee by
       request. The independent third-party professional shall determine in its market survey
       the price actually charged by affiliated Third-Party Providers and by independent third-
       party providers. Arm’s-length transaction means a transaction in which both parties are
       acting independently and in their own self-interest.
C.     Additional Oversight of Activities by Attorneys and Law Firms Retained by
       Servicer for Foreclosure, Bankruptcy, and Eviction Services.
       1.     Servicer shall require a certification process for law firms (and
              recertification of existing law firm providers) that provide residential
              mortgage foreclosure and bankruptcy services for Servicer, on a periodic
              basis, as qualified to serve as a Third-Party Provider to Servicer, including
              that attorneys have the experience and competence necessary to perform the
              services requested.
       2.     Servicer shall ensure that attorneys are licensed to practice in the relevant
              jurisdiction, have the experience and competence necessary to perform the
              services requested, and that their services comply with applicable rules,
              regulations and applicable law (including state law prohibitions on fee
              splitting).
       3.     Servicer shall ensure that foreclosure and bankruptcy counsel and
              foreclosure trustees have an appropriate Servicer contact to assist in legal
              proceedings and to facilitate loss mitigation questions on behalf of the
              borrower.
       4.     Servicer shall adopt policies requiring attorneys retained by Servicer for
              foreclosure, bankruptcy, and eviction services, and foreclosure trustees to
              maintain records that identify all notarizations of Servicer documents
              executed by each notary employed by the foreclosure, bankruptcy and
              eviction counsel or foreclosure trustees.
D.     Additional Property Preservation Oversight and Obligations.
       1.       In addition to the oversight obligations described in this Section (II),
                Servicer shall also comply with the additional oversight and obligations
                specific to property preservation contained in this paragraph (II.D). To the
                extent that Servicer relies on Third-Party Providers, or the vendors of Third
                Party Providers, to perform any of the functions or services described in
                the provisions in paragraph II.D, Servicer acknowledges that Servicer is
                liable for any noncompliance by any such Third-Party Providers or vendors
                of Third Party Providers with these provisions.
       2.       Servicer shall only inspect or secure a property when authorized to do so
                by the loan documents, investor guidelines, or law, unless expressly
                prohibited by law.
       3.       Servicer shall not remove personal property, or cause or allow the removal
                of personal property, unless the removal of personal property from the
                property is authorized by a court order or otherwise authorized by

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         applicable law, except that Servicer may remove personal property as
         necessary to address a health or infestation risk, such as rotting food.
  4.     Prior to ordering the securing of vacant or abandoned property, Servicer
         must review its system of record for recent consumer communication that
         is inconsistent with vacancy or abandonment, and Servicer shall not order
         a secure in such instances unless subsequent attempts to establish contact
         with the borrower fail or Servicer obtains information causing Servicer to
         reasonably believe the property has been vacant or abandoned. Servicer
         must document its attempts to contact the borrower and any information
         causing Servicer to reasonably believe the property has been vacant or
         abandoned. If there is borrower communication within the past 30 days or
         other evidence in the system of record that is inconsistent with a
         determination of vacancy or abandonment, then Servicer must promptly
         notify the inspector of such findings and direct the inspector that no further
         property preservation activity shall occur at the property until Servicer has
         determined that the property is vacant or abandoned based on Servicer’s
         additional outreach efforts to communicate with the borrower, or otherwise
         has an understanding of the facts that would resolve the conflict in the
         record and would reasonably support a determination of vacancy or
         abandonment.
  5.     For pre-REO properties, Servicer must comply with the following
         obligations:
        a.     Servicer shall only secure property that it reasonably believes has
               been vacant or abandoned or is in unsecure condition based on at
               least two external inspections of the property, and Servicer may only
               enter and secure the property if the second inspection confirms that
               the factors demonstrating the property is vacant or has been
               abandoned persist. Servicer must wait at least three days between
               inspections (unless there is an emergency requiring immediate
               action to protect the property and waiting three days is reasonably
               likely to result in substantial harm to the property), and must post
               the notices required below after each inspection.
        b.     When Servicer determines that a property is vacant or abandoned,
               Servicer must, unless otherwise prohibited by applicable local law,
               affix a notice on the front door of the property (1) advising the
               occupant that Servicer has determined that the property has been
               abandoned, (2) stating the date of the inspection(s), (3) advising the
               occupant to call the inspector if that determination is incorrect and
               providing a 24-hour toll-free telephone number that the occupant
               may call, and (4) advising that Servicer may secure the property in
               three days unless the occupant contacts Servicer, or if notice follows
               the second inspection, advise the occupant that the property has been
               secured and that the occupant should call the 24-hour telephone
               number if the occupant is still residing in the property or has
               personal property in the property. This notice must include a

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              statement in Spanish directing the occupant to call the inspector’s
              24-hour toll-free telephone number to report that the property is not
              abandoned or for more information.
        c.    A determination that the property is vacant or has been abandoned
              must be based on the good faith judgment of the inspectors,
              supported by objective factors which are documented by each
              inspector with date and time-stamped photographs, and a
              declaration of each inspector attesting to the factors giving rise to
              the determination. A drive-by inspection where the inspector does
              not exit his or her vehicle shall not constitute good faith, except in
              circumstances requiring no physical contact for personal safety
              reasons that are documented in Servicer's system of record.
        d.    Servicer shall not consider a property vacant or abandoned if:
              i.     The occupant or mortgagor tells Servicer that the property is
                     occupied or is being regularly maintained; provided that an
                     occupant’s or mortgagor’s prior assertion that a property is
                     being maintained will not prevent a property from being
                     deemed abandoned if, after such assertion is made, Servicer
                     observes factors consistent with vacancy or abandonment,
                     and Servicer follows the procedures set forth in this
                     Agreement; or
              ii.    The occupant or mortgagor is in active loss mitigation
                     communication that is inconsistent with vacancy or
                     abandonment.
        e.    Servicer shall ensure that calls made to the 24-hour toll-free
              telephone number are recorded (unless prohibited by law) and
              retained for a period of at least five years, along with any notes or
              other documentation relating to those calls.
        f.    Servicer shall inform inspectors of any recent communication from
              an occupant of the property that may be inconsistent with vacancy
              or abandonment.

        g.    If Servicer secures a vacant or abandoned property, Servicer must
              promptly comply with any applicable law requiring registration of
              vacant or abandoned property.

        h.    Servicer shall not winterize a property unless winterizing is
              reasonably necessary at the time of the secure to protect the property
              or is required by GSE or FHA guidelines.
        i.    If an occupant notifies Servicer that the occupant has been locked
              out of the property, Servicer must make reasonable efforts to restore
              the occupant to exclusive access to the property within 24 hours.
              Servicer shall document in its system of record the reasonable

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              efforts undertaken to restore the occupant with exclusive access to
              the property. Notwithstanding this provision, Servicer shall have no
              obligation to comply with this paragraph (II.D.5.i) if Servicer
              confirms that the occupant does not want exclusive access to the
              property.
        j.    If an occupant notifies Servicer of a utility shut-off that was caused
              by Servicer, Servicer must make reasonable efforts to cause utility
              service to be restored within 24 hours. Servicer shall document in
              its system of record the reasonable efforts undertaken to restore the
              occupant’s utility services within 24 hours.
        k.    If Servicer has removed personal property and an occupant
              subsequently requests the return of the personal property, Servicer
              shall return the personal property within three days. If Servicer no
              longer has the personal property, Servicer shall reimburse the
              occupant for the reasonable replacement value of the personal
              property within 14 days. Servicer shall not require the occupant to
              provide photographs or receipts for the missing personal property,
              though Servicer may request that the occupant provide a list
              itemizing and valuing the missing property, along with an affidavit.
              Nothing in this paragraph shall obligate Servicer to reimburse the
              occupant if Servicer was authorized to remove the personal property
              by a court order or other applicable law, or if Servicer removed the
              personal property because it was necessary to address a health or
              infestation risk that Servicer has documented with photographs.
        l.    Servicer shall not incentivize inspectors to deem a property vacant
              or abandoned when, in fact, the property is occupied. Nor shall
              Servicer incentivize or prioritize speed over accuracy in making
              vacancy or abandonment determinations or securing property.
        m.    Servicer shall not penalize or disincentivize inspectors from
              determining that a property is not vacant or abandoned.
              Determining that a property is not vacant or abandoned shall be
              given the same score or weight as determining that a property is
              vacant or abandoned for the purpose of evaluating performance and
              assigning priority for future work orders.
        n.    Servicer shall ensure that inspectors use a unique lock box code for
              each property to be secured.
        o.    Servicer shall implement written policies and procedures that
              prohibit inspectors from harassing occupants, threatening occupants
              with dispossession, or otherwise violating the applicable law
              relating to the property rights of occupants. Servicer must ensure
              that inspectors are trained in these policies and procedures, and
              Servicer must ensure that inspectors are trained in the applicable law

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               relating to the property rights of occupants. Servicer shall or shall
               cause any property preservation vendor to take appropriate
               disciplinary action, including termination, if an inspector violates
               these policies or procedures. Servicer shall require that the training
               described in this paragraph shall occur upon hire of the inspector
               and shall be repeated no less than annually.
        p.     Credible consumer complaints and the accuracy of vacancy and
               abandonment determinations shall factor into Servicer’s evaluation
               of inspectors and any other tool that determines the amount,
               frequency, or priority of future work orders. Servicer shall maintain
               in its records the score cards and other tools used to evaluate
               inspectors, including records relating to the consumer complaints
               and the accuracy of vacancy and abandonment determinations that
               factored into each evaluation. Servicer shall evaluate inspectors in
               accordance with this paragraph on at least a monthly basis.
        q.     Servicer shall implement written policies and procedures that
               prohibit inspectors from harassing tenants, threatening tenants with
               dispossession, or otherwise violating the applicable law relating to
               the property rights of tenants. Servicer must ensure that inspectors
               are trained in these policies and procedures, and Servicer must
               ensure that inspectors are trained in the applicable law relating to the
               property rights of tenants. Servicer shall take or cause its property
               preservation vendor to take appropriate disciplinary action,
               including termination, if an inspector violates these policies or
               procedures. Servicer shall not secure property that is occupied by
               tenants, and the obligations of Servicer with respect to “occupants”
               as described in this paragraph (II.D) shall apply to tenants. Servicer
               shall require that the training described in this paragraph shall occur
               upon hire of the inspector and shall be repeated no less than
               annually.
  6.    For REO properties, Servicer must comply with the following obligations:
        a.     Once a property changes from a pre-REO status to a REO status,
               Servicer shall not remove any personal property except where
               permitted by law.
        b.     Servicer shall make reasonable efforts to determine whether the
               property is occupied by tenants. Servicer must document the
               reasonable efforts undertaken to make this determination. Servicer
               shall not secure or remove personal property from a property that is
               occupied by tenants unless and until Servicer has obtained an order
               of possession against the tenants, or the securing, eviction, or
               removal of personal property is otherwise authorized by law.
        c.     Servicer shall implement written policies and procedures that
               prohibit inspectors (including, but not limited to, real estate agents

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                            or any other representative used with respect to REO property) from
                            harassing tenants, threatening tenants with dispossession, or
                            otherwise violating the applicable law relating to the property rights
                            of tenants. Servicer must ensure that inspectors are trained in these
                            policies and procedures, and Servicer must ensure that inspectors
                            are trained in the applicable law relating to the property rights of
                            tenants. Servicer shall take or shall cause its property preservation
                            vendor to take appropriate disciplinary action, including
                            termination, if an inspector violates these policies or procedures.
                            Servicer shall require that the training described in this paragraph
                            shall occur upon hire of the inspector and shall be repeated no less
                            than annually.
III.   BANKRUPTCY.
       A.     General.
              1.     The provisions, conditions, and obligations imposed herein are intended to
                     be interpreted in accordance with applicable federal, state, and local laws,
                     rules, and regulations. Nothing herein shall require a Servicer to do anything
                     inconsistent with applicable state or federal law, including the applicable
                     Bankruptcy Law or a court order in a bankruptcy case.
              2.     Servicer shall ensure that employees who are regularly engaged in servicing
                     mortgage loans as to which the borrower or mortgagor is in bankruptcy
                     receive training specifically addressing bankruptcy issues.
       B.     Chapter 13 Cases.
              1.     In any chapter 13 case, Servicer shall ensure that:
                     a.     So long as the debtor is in a chapter 13 case, within 180 days after
                            the date on which the fees, expenses, or charges are incurred, file and
                            serve on the debtor, debtor’s counsel, and the trustee a notice in a
                            form consistent with Official Form B 410S-2 itemizing fees,
                            expenses, or charges (1) that were incurred in connection with the
                            claim after the bankruptcy case was filed, (2) that the holder asserts
                            are recoverable against the debtor or against the debtor’s principal
                            residence, and (3) that the holder intends to collect from the debtor.
                     b.     Servicer replies within time periods established under Bankruptcy
                            Law to any notice that the debtor has completed all payments under
                            the plan or otherwise paid in full the amount required to cure any
                            pre-petition default.
                     c.     If Servicer fails to provide information as required by paragraph
                            III.B.1.a with respect to a fee, expense, or charge within 180 days of
                            the incurrence of such fee, expense, or charge, then,
                            i.      Except for independent charges (“Independent Charge”)
                                    paid by Servicer that is either (A) specifically authorized by
                                    the borrower or (B) consists of amounts advanced by

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                     Servicer in respect of taxes, homeowners association fees,
                     liens, or insurance, such fee, expense, or charge shall be
                     deemed waived and may not be collected from the borrower.
              ii.    In the case of an Independent Charge, the court may, after
                     notice and hearing, take either or both of the following
                     actions:
                     (a)     Preclude the holder from presenting the omitted
                             information, in any form, as evidence in any
                             contested matter or adversary proceeding in the case,
                             unless the court determines that the failure was
                             substantially justified or is harmless; or
                     (b)     Award other appropriate relief, including reasonable
                             expenses and attorneys’ fees caused by the failure.
        d.    If Servicer fails to provide information as required by paragraphs
              III.B.1.a or III.B.1.b and Bankruptcy Law with respect to a fee,
              expense, or charge (other than an Independent Charge) incurred more
              than 45 days before the date of the reply referred to in paragraph
              III.B.1.b, then such fee, expense, or charge shall be deemed waived
              and may not be collected from the borrower.
        e.    Servicer shall file and serve on the debtor, debtor’s counsel, and the
              trustee a notice in a form consistent with Official Form B 410S-1 of
              any change in the payment amount, including any change that
              results from an interest rate or escrow account adjustment, no later
              than 21 days before a payment in the new amount is due. Servicer
              shall waive and not collect any late charge or other fees imposed
              solely as a result of the failure of the borrower timely to make a
              payment attributable to the failure of Servicer to give such notice
              timely.
        f.    Within seven days after filing a POC or filing a MRS, whichever
              occurs first, Servicer shall notify borrowers or borrowers’ counsel
              in writing that they may receive, upon written request:
                     (a)     A copy of the borrower’s payment history since the
                             borrower was last less than 60 days past due;
                     (b)     A copy of the borrower’s note;
                     (c)     If Servicer has commenced foreclosure or filed a
                             POC, copies of any assignments of mortgage or deed
                             of trust required to demonstrate the right to foreclose
                             on the borrower’s note under applicable state law;
                             and
                     (d)     The name of the investor that holds the borrower’s
                             loan.


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                     g.      As described in paragraph III.B.1.f, above, Servicer shall respond to
                             a borrower’s written request in writing, no later than 30 days after
                             receipt of a borrower’s written request.
IV.   LOSS MITIGATION.
      These requirements are intended to apply to both government-sponsored and proprietary
      loss mitigation programs and shall apply to subservicers performing loss mitigation services
      on Servicer’s behalf. Loss mitigation application means an oral or written request for a loss
      mitigation option that is accompanied by any information required by the Servicer for
      evaluation for a loss mitigation option. Loss mitigation option means an alternative to
      foreclosure offered by the owner or assignee of a mortgage loan that is made available
      through the Servicer to the borrower.
      A.     Loan Modification Requirements.
             1.      Servicer shall offer and facilitate loan modifications or other loss mitigation
                     options which meet agency and investor guidelines to borrowers, rather than
                     initiating and pursuing foreclosure actions. Nothing in this paragraph shall
                     require Servicer to utilize net present value (“NPV”) calculations for
                     purposes of evaluating loan modifications where the investor does not use
                     NPV when evaluating loan modifications.
             2.      Servicer shall make the following information available on a publically-
                     accessible website:
                     a. Information on its qualification process for a loan modification;
                     b. Required documentation for a loan modification;
                     c. Information necessary for a complete loan modification application;
                     d. Key eligibility factors for loan modifications;
                     e. Loan modification waterfalls; and
                     f. Loan modification terms.
             3.      Servicer shall offer loan modifications intended to produce sustainable
                     modifications according to investor guidelines and previous results.

             4.      Servicer shall offer loan modifications that provide affordable payments for
                     borrowers needing longer term or permanent assistance.
             5.      Servicer shall only include bona fide and reasonable fees and costs when
                     capitalizing arrearages in order to evaluate a borrower for a loan
                     modification.
              6.     Servicer shall track outcomes and maintain records regarding characteristics
                     and performance of loan modifications.
              7.     Servicer shall not charge any application or processing fees for loan
                     modifications.
             8.      Servicer shall not demand a lump sum payment as a prerequisite to evaluation
                     for, or the granting of, a loan modification.

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       9.     Servicer shall within 15 days of receiving the final trial period payment,
              send by written and by electronic means (if available and requested by the
              borrower) a final modification agreement to borrowers who have enrolled
              in a trial period plan and who have made the required number of timely trial
              period payments, where the modification is underwritten prior to the trial
              period and has received any necessary investor, guarantor, or insurer
              approvals. The borrower shall then be converted by Servicer to a permanent
              modification upon execution of the final modification documents, consistent
              with applicable program guidelines, absent evidence of fraud.
B.     Dual Track Restricted.
       1.     If, after an eligible borrower has been referred to foreclosure, Servicer
              receives a complete loss mitigation application (as defined by paragraph
              IV.F.1) from the borrower more than 37 days before a scheduled foreclosure
              sale, then while such loss mitigation application is pending, Servicer shall
              not move for foreclosure judgment or order of sale (or, if a motion has
              already been filed, shall take reasonable steps to avoid a ruling on such
              motion), or conduct a foreclosure sale. If Servicer offers the borrower a loan
              modification, Servicer shall not move for judgment or order of sale (or, if a
              motion has already been filed, shall take reasonable steps to avoid a ruling
              on such motion), or conduct a foreclosure sale until the earlier of (a) 14 days
              after the date of the related offer of a loan modification; or (b) the date the
              borrower declines the loan modification offer. If the borrower accepts the
              loan modification offer (verbally, in writing (including e-mail responses) or
              by submitting the first trial modification payment) within 14 days after the
              date of the related offer of loan modification, Servicer shall continue this
              delay until the later of (if applicable) (a) the Servicer failing to timely
              receive the first trial period payment; or (b) if Servicer timely receives the
              first trial period payment, after the borrower breaches the trial plan. For
              purposes of this paragraph (IV.B.1), Servicer shall not be responsible for
              failing to obtain a delay in a ruling on a judgment or a motion for judgment
              if Servicer made a request for such delay, pursuant to any state or local law,
              court rule, or customary practice, and such request was not approved. Where
              Servicer or counsel retained by Servicer fails to take reasonable steps to
              avoid a ruling on a motion that was pending at the time a complete loss
              mitigation application is received or issuance of an order with respect to
              such a motion, the Servicer must dismiss the foreclosure proceeding if
              necessary to avoid the sale.
       2.     If the loan modification requested by a borrower described in paragraph
              IV.B.1 is denied, then, except when otherwise required by federal or state
              law or investor directives, if borrower is entitled to an appeal under
              paragraph IV.G, Servicer will not proceed to a foreclosure sale until the later
              of (if applicable):

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        a.      Expiration of the 14-day appeal period; or
        b.      If the borrower appeals the denial, until the later of (if applicable) (i)
                if Servicer denies borrower’s appeal, 15 days after the letter denying
                the appeal, (ii) if Servicer sends borrower a letter granting his or her
                appeal and offering a loan modification, 14 days after the date of
                such offer, (iii) if the borrower timely accepts the loan modification
                offer (verbally, in writing (including e-mail responses), or by
                making the first trial period payment), after the failure of Servicer
                timely to receive the first trial period payment, or (iv) if Servicer
                timely receives the first trial period payment, after the borrower
                breaches the trial plan.
  3.    If, after an eligible borrower has been referred to foreclosure, Servicer
        receives a complete loan modification application within 37 to 15 days
        before a scheduled foreclosure sale, then Servicer shall conduct a review of
        the borrower’s application and postpone any foreclosure sale, if necessary to
        review the borrower’s application. If the borrower is extended a loan
        modification offer, Servicer shall continue to postpone any foreclosure sale
        until the earlier of (a) 14 days after the date of the related evaluation notice;
        or (b) the date the borrower declines the loan modification offer. If the
        borrower timely accepts the loan modification offer (either in writing or by
        submitting the first trial modification payment), Servicer shall delay the
        foreclosure sale until the later of (if applicable) (a) the Servicer failing to
        timely receive the first trial period payment; or (b) if Servicer timely
        receives the first trial period payment, after the borrower breaches the trial
        plan.
  4.    If, after an eligible borrower has been referred to foreclosure, Servicer
        receives a complete loan modification application less than 15 days before
        a scheduled foreclosure sale, Servicer must notify the borrower before the
        foreclosure sale date as to Servicer’s determination (if its review was
        completed) or inability to complete its review of the loan modification
        application. If Servicer makes a loan modification offer to the borrower,
        then Servicer shall postpone any sale until the earlier of (a) 14 days after the
        date of the related evaluation notice; or (b) the date the borrower declines
        the loan modification offer. If the borrower timely accepts a loan
        modification offer (either in writing or by submitting the first trial
        modification payment), Servicer shall delay the foreclosure sale until the
        later of (if applicable) (a) the Servicer failing to timely receive the first trial
        period payment; or (b) if Servicer timely receives the first trial period
        payment, after the borrower breaches the trial plan.
  5.    For purposes of paragraphs IV.B.3 and IV.B.4, Servicer shall not be
        responsible for failing to obtain a delay in a ruling on a judgment or a motion
        for judgment if Servicer made a request for such delay, pursuant to any state
        or local law, court rule, or customary practice, and such request was not
        approved.


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       6.     Servicer shall not move to judgment or order of sale or proceed with a
              foreclosure sale under any of the following circumstances:
              a.     The borrower is in compliance with the terms of a trial loan
                     modification, forbearance, or repayment plan;
              b.     The borrower has been approved by Servicer to participate in a short
                     sale, and the property is in a marketing or listing period; or
              c.     A short sale or deed-in-lieu of foreclosure has been approved by all
                     parties (including, for example, first lien investor, junior lien holder
                     and mortgage insurer, as applicable).
       7.     If a foreclosure or trustee’s sale is continued (rather than cancelled) to
              provide time to evaluate loss mitigation options, Servicer or its counsel shall
              notify borrower by written and electronic means (if available) of the new
              date of sale promptly but no later than as required by applicable law.
       8.     Servicer shall ensure timely and accurate communication of or access to
              relevant loss mitigation status and changes in status to its foreclosure
              attorneys, bankruptcy attorneys, and foreclosure trustees and, where
              applicable, to court-mandated mediators.
C.     Single Point of Contact.
       1.     Servicer shall establish an easily accessible and reliable single point of
              contact for each potentially-eligible first lien mortgage borrower so that the
              borrower has access to an employee of Servicer to communicate through
              verbal and electronic means (if available) throughout the loss mitigation,
              loan modification, and foreclosure processes. For purposes of this
              Agreement, single point of contact (“SPOC”) means an individual who has
              the ability and authority to perform the responsibilities described in this
              paragraph (IV.C).
       2.     Servicer shall identify the SPOC to the borrower within five business days
              after a potentially eligible borrower requests loss mitigation assistance by
              written means. Servicer shall provide one or more direct means of
              communication with the SPOC on loss mitigation-related correspondence
              with the borrower. Servicer shall within five business days provide updated
              contact information to the borrower if the designated SPOC is reassigned or
              no longer employed by Servicer, or otherwise not able to act as the primary
              point of contact.
       3.     Servicer shall ensure that debtors in bankruptcy are assigned to a SPOC
              specially trained in bankruptcy issues.
       4.     The SPOC shall have primary responsibility for:
              a.     Communicating the options available to the borrower, the actions the
                     borrower must take to be considered for these options, and the status
                     of Servicer’s evaluation of the borrower for these options;
              b.     Coordinating receipt of all documents associated with loan

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               modification or loss mitigation activities;
        c.     Being knowledgeable about the borrower’s situation and current
               status in the delinquency/imminent default resolution process; and
        d.     Ensuring that all communications with borrowers are properly
               documented in Servicer’s system of record, including sufficient
               information to identify the SPOC or representative who
               communicated with the borrower, and the date each communication
               took place.
  5.    The SPOC shall, at a minimum, provide the following services to
        borrowers:
        a.     Contact the borrower and introduce himself/herself as the borrower’s
               SPOC;
        b.     Explain programs for which the borrower is eligible;
        c.     Explain the requirements of the programs for which the borrower is
               eligible;
        d.     Explain program documentation requirements;
        e.     Provide basic information about the status of borrower’s account,
               including pending loan modification applications, other loss
               mitigation alternatives, and foreclosure activity;
        f.     Notify borrower of missing documents and provide an address or
               electronic means for submission of documents by borrower in order
               to complete the loan modification application;
        g.     Communicate Servicer’s decision regarding loan modification
               applications and other loss mitigation options to borrower in writing;
        h.     Assist the borrower in pursuing alternative non-foreclosure options
               upon the denial of a loan modification;
        i.     If a loan modification is approved, call and speak with the borrower
               to explain the program;
        j.     Provide information regarding credit counseling where necessary;
        k.     Assist the borrower to clear any internal processing requirements;
               and
        l.     Have access to individuals with the ability to stop foreclosure
               proceedings when necessary to comply with this Agreement or any
               other legal requirement.
  6.    The SPOC shall remain assigned to borrower’s account and available to
        borrower until such time as Servicer determines in good faith that all loss
        mitigation options have been exhausted, borrower’s account becomes
        current or, in the case of a borrower in bankruptcy, the borrower has
        exhausted all loss mitigation options for which the borrower is potentially
        eligible and has applied.

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       7.    Servicer shall ensure that a SPOC can refer and transfer a borrower to an
             appropriate supervisor upon request of the borrower.
       8.    Servicer shall ensure that relevant records relating to borrower’s account are
             promptly available to the borrower’s SPOC, so that the SPOC can timely,
             adequately, and accurately inform the borrower of the current status of loss
             mitigation, loan modification, and foreclosure activities.
       9.    Servicer shall designate one or more management level employees to be the
             primary contact for the state Attorneys General, state financial regulators,
             the Executive Office of U.S. Trustee, each regional office of the U.S.
             Trustee, and federal regulators for communication regarding complaints and
             inquiries from individual borrowers. Servicer shall provide a written
             acknowledgment to all such inquiries within five business days or the time
             frame prescribed in the complaint or inquiry. Servicer shall provide a
             substantive written response to all such inquiries within 30 days or the time
             frame prescribed in the complaint or inquiry. Servicer shall provide relevant
             loan information to borrower and to state Attorneys General, state financial
             regulators, federal regulators, the Executive Office of the U.S. Trustee, and
             each U.S. Trustee upon written request and if properly authorized. A written
             complaint filed by a borrower and forwarded by a state Attorney General or
             financial regulatory agency to Servicer shall be deemed to have proper
             authorization.
       10.   Servicer shall establish and make available to chapter 13 trustees a toll-free
             telephone number staffed by persons trained in bankruptcy to respond to
             inquiries from chapter 13 trustees.
D.     Loss Mitigation Communications with Borrowers.
       1.    No later than the 36th day of delinquency, Servicer shall conduct affirmative
             outreach efforts to inform delinquent borrowers of loss mitigation options.
             The use by Servicer of nothing more than prerecorded automatic messages
             in loss mitigation communications with borrowers shall not be sufficient in
             those instances in which it fails to result in contact between the borrower
             and one of Servicer’s loss mitigation specialists.
       2.    Servicer shall disclose and provide accurate information to borrowers
             relating to the review requirements and process for loss mitigation
             programs.
       3.    Servicer shall communicate, at the written request of the borrower, with the
             borrower’s authorized representatives, including housing counselors.
             Servicer shall communicate with representatives from state Attorneys
             General and financial regulatory agencies acting upon a written complaint
             filed by the borrower and forwarded by the state Attorney General or
             financial regulatory agency to Servicer. When responding to the borrower
             regarding such complaint, Servicer shall include the applicable state
             Attorney General or financial regulatory agency on the written response
             with the borrower regarding such complaint.


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       4.     Servicer shall cease collection efforts while the borrower (a) is making
              timely payments under a trial loan modification or (b) has submitted a
              complete loan modification application, and a modification decision is
              pending. Notwithstanding the above, Servicer reserves the right to contact a
              borrower to gather required loss mitigation documentation, to assist a
              borrower with performance under a trial loan modification plan, or to
              discuss other servicing non-collection related matters.
       5.     As indicated in paragraph I.A.13, Servicer (including any attorney or trustee
              conducting foreclosure proceedings at the direction of Servicer) shall send
              a written communication to the borrower that includes clear language that:
              a.     The borrower can still be evaluated for alternatives to foreclosure by
                     submitting a loss mitigation application to Servicer;
              b.     The borrower can reapply for loss mitigation, even if borrower has
                     previously been denied, if the borrower has experienced a change in
                     financial circumstances; and
              c.     Provides Servicer’s contact information for requesting a complete
                     loss mitigation application package and for submitting a complete
                     loss mitigation application, including Servicer’s toll-free telephone
                     number.
E.     Development of Loan Portals for use by Borrowers.
       1.     Servicer shall develop or contract with a third-party vendor to develop an
              online portal linked to Servicer’s primary servicing system for
              communication with borrowers.
       2.     Servicer shall design portals that will, among other things:
              a.     Enable documents to be submitted electronically;
              b.     Provide an electronic receipt for any documents submitted; and
              c.     Provide general review requirements for loan modification and other
                     loss mitigation programs.
F.     Loss Mitigation Timelines.
       1.     Servicer shall notify borrower in writing of any known deficiency in the
              borrower’s loss mitigation application, no later than five business days after
              receipt, including any missing information or documentation required for
              the loss mitigation application to be considered complete. For purposes of
              this Agreement, a complete loss mitigation application means an application
              in connection with which Servicer has received all the information that
              Servicer requires from the borrower in evaluating applications for the loss
              mitigation options available to the borrower. Servicer shall exercise
              reasonable diligence in obtaining documents and information to complete a
              loss mitigation application.




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  2.    Subject to paragraph IV.B, Servicer shall afford borrower a reasonable date
        from the date of Servicer’s notification of any missing information or
        documentation (whether contained in the five-day letter in paragraph IV.F.1
        or additional missing items letter) to supplement borrower’s submission of
        information prior to making a determination on whether or not to offer a
        loss mitigation option. In general, and subject to paragraph IV.B, Servicer
        complies with the requirement to include a reasonable date by including a
        date that is 30 days after the date the Servicer provides the borrower with
        the written notice in IV.F.1 or additional missing items letter. The
        reasonable date, however, must be no later than the nearest remaining
        milestone listed in IV.F.2.i-iv (below) even if it will occur earlier than 30
        days, subject to a minimum seven days after Servicer provides the borrower
        with the notice in IV.F.1 or additional missing items letter:
        i.     The date by which any document or information submitted by a
               borrower will be considered stale or invalid pursuant to any
               requirements applicable to any loss mitigation option available to
               the borrower;
        ii.    The date that is the 120th day of the borrower’s delinquency;
        iii.   The date that is 90 days before a foreclosure sale; and
        iv.    The date that is 38 days before a foreclosure sale.
  3.    Within five business days of receiving a borrower’s complete loss
        mitigation application, Servicer shall notify the borrower by written and
        electronic means (if available and requested by the borrower) when a loss
        mitigation application is complete. The notice of complete application must
        inform the borrower the date Servicer received the complete application;
        whether a foreclosure sale was scheduled as of the date Servicer received
        the complete application; and if a foreclosure sale was scheduled, the date
        of that scheduled sale.
  4.    Servicer shall review the complete loss mitigation application submitted by
        borrower and shall determine the disposition of borrower’s loss mitigation
        application no later than 30 days after receipt of the complete loss mitigation
        application.
  5.    Servicer shall provide the borrower with an approval notice in writing
        stating Servicer’s determination of which loss mitigation options, if any, it
        will offer to the borrower on behalf of the owner or assignee of the mortgage
        within 30 days of receiving the borrower’s complete loss mitigation
        application.
  6.    Except when evaluated as provided in paragraphs IV.B.3 or IV.B.4,
        Servicer’s denial of an eligible borrower’s request for loss mitigation
        following the submission of a complete loss mitigation application shall be
        subject to an independent evaluation. Such evaluation shall be performed
        by an independent entity or a different employee who has not been involved
        with the particular loss mitigation application.

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       7.     When a loss mitigation application is denied (after the independent
              evaluation in paragraph IV.F.6 of this Agreement is performed), Servicer
              shall send a written non-approval notice to the borrower within 30 days of
              receiving the borrowers complete loss mitigation application. Servicer shall
              identify in this non-approval notice the specific reason or reasons for denial.
              The notice shall further inform a borrower that is eligible to appeal the
              decision, pursuant to paragraph IV.G.1 of this Agreement, that he or she has
              14 days from the date of the written non-approval notice to provide evidence
              that the eligibility determination was in error. If a loan modification
              application is denied because it is disallowed by an investor, Servicer shall
              disclose in the written non-approval notice the name of the investor and
              summarize the reasons for the investor’s denial. For those cases where a
              loan modification application denial is the result of an NPV calculation,
              Servicer shall provide in the written non-approval notice the input values
              used in the calculation.
       8.     For all loss mitigation programs, Servicer shall allow properly submitted
              borrower financials to be used for 90 days from the date on the documents,
              unless Servicer learns that there has been a material change in financial
              circumstances or unless investor requirements mandate a shorter time
              frame.
       9.     Servicer shall not make the first notice or filing required by applicable law
              for any judicial or non-judicial foreclosure process unless a borrower’s
              mortgage loan obligation is more than 120 days delinquent.
G.     Appeal Process.
       1.     If Servicer receives a complete loss mitigation application 90 days or more
              before a foreclosure sale or during the period set forth in paragraph IV.F.9
              of this Agreement, Servicer shall permit a borrower to appeal the Servicer’s
              determination to deny a borrower’s loss mitigation application for any trial
              or permanent loan modification program available to the borrower. Servicer
              shall permit a borrower to make an appeal within 14 days after the automatic
              review in paragraph IV.F.6 of this Agreement has been completed and
              Servicer provides the written approval notice or the written non-approval
              notice to the borrower, pursuant to paragraphs IV.F.5 and IV.F.7 of this
              Agreement. An appeal shall be reviewed by different personnel than those
              responsible for evaluating the borrower’s complete loss mitigation
              application.
       2.     For those cases in which the loan modification denial is the result of an NPV
              or loan-to-value (“LTV”) calculation, the written non-approval notice must
              advise the borrower that if a borrower disagrees with the property value
              used by Servicer in the NPV or LTV test, the borrower can request (within
              14 days of the denial notice) that Servicer obtain a full appraisal of the
              property by an independent licensed appraiser at the borrower’s expense.
              Servicer shall document a borrower’s request of a full appraisal of the
              property by an independent licensed appraiser in its system of record. Upon

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              receipt of the appraisal, Servicer must perform a final NPV or LTV re-
              evaluation using the appraised value and any other NPV or LTV input
              values materially disputed by the borrower. Servicer must provide the final
              NPV or LTV outcome and input values to the borrower in the final
              disposition letters described in paragraphs IV.G.3 and IV.G.4, below. If the
              re-evaluation with the new appraised value results in a trial period plan, the
              actual appraisal cost will be capitalized in conjunction with the permanent
              modification.
       3.     Servicer shall review the information submitted by borrower and use its best
              efforts to communicate the disposition of borrower’s appeal to borrower by
              written means no later than 30 days after receipt of the information.
       4.     If Servicer denies borrower’s appeal, Servicer’s appeal denial letter shall
              include a description of other available loss mitigation options, including,
              but not limited to, short sales and deeds in lieu of foreclosure.
H.     General Loss Mitigation Requirements.
       1.     Servicer shall maintain adequate staffing and systems for tracking borrower
              documents and information that are relevant to foreclosure, loss mitigation,
              and other Servicer operations. Servicer shall make periodic assessments to
              ensure that its staffing and systems are adequate.
       2.     Servicer shall maintain adequate staffing and caseload limits for SPOCs and
              employees responsible for handling foreclosure, loss mitigation, and related
              communications with borrowers and housing counselors. Servicer shall
              make periodic assessments to ensure that its staffing and systems are
              adequate.
       3.     Servicer shall establish reasonable minimum experience, educational, and
              training requirements for loss mitigation staff.
       4.     Servicer shall document electronically key actions taken on a foreclosure,
              loan modification, or other loss mitigation relief, bankruptcy, or other
              servicing file, including verbal communications with the borrower.
       5.     Servicer shall not adopt compensation arrangements for its employees that
              encourage foreclosure over loss mitigation alternatives.
       6.     Servicer shall not make inaccurate payment delinquency reports to credit
              reporting agencies when the borrower is making timely reduced payments
              pursuant to a trial or other loan modification agreement. Servicer shall
              provide the borrower, prior to entering into a trial loan modification, with
              clear and conspicuous written information that adverse credit reporting
              consequences may result from the borrower making reduced payments
              during the trial period.
       7.     Servicer shall ensure that all loan modifications be in writing. Where
              Servicer grants a loan modification, Servicer shall provide borrower with a
              copy of the fully executed loan modification agreement within 45 days of
              receipt of the executed copy from the borrower. Servicer shall not instruct,

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        advise, or recommend that borrowers go into default in order to qualify for
        loss mitigation relief.
  8.    Servicer shall not discourage borrowers from working or communicating
        with legitimate non-profit housing counseling services.
  9.    Servicer shall not, in the ordinary course, require a borrower to waive or
        release claims and defenses as a condition of approval for a loan
        modification program or other loss mitigation relief. However, nothing
        herein shall preclude Servicer from requiring a waiver or release of claims
        and defenses with respect to a loan modification offered in connection with
        the resolution of a contested claim, when the borrower would not otherwise
        be qualified for the loan modification under existing Servicer programs.
  10.   Servicer shall not charge a borrower an application fee in connection with a
        request for a loan modification. Servicer shall provide the borrower with a
        pre-paid envelope or pre-paid address label for return of a loan modification
        application.
  11.   Notwithstanding any other provision of this Agreement, and to minimize
        the risk of borrowers submitting multiple loss mitigation requests for the
        purpose of delay, Servicer shall not be obligated to evaluate requests for
        loss mitigation options from borrowers who were evaluated after the date
        of implementation of this Agreement, consistent with this Agreement,
        unless there has been a material change in the borrower’s financial
        circumstances that is documented by borrower and submitted to Servicer.
  12.   A borrower’s prior chapter 7 discharge should not impact his or her
        eligibility for loss mitigation.
  13.   Successors in Interest.
        a.     For purposes of this paragraph (IV.H.13), from the Effective Date of
               this Agreement until and including April 18, 2018, Successor in
               Interest means a person to whom an ownership interest in property
               securing a mortgage loan subject to this Agreement is transferred from
               a borrower, provided that the transfer is by devise, descent, or
               operation of law on the death of a joint tenant by the entirety or other
               transfer to a relative resulting from the death of a borrower.
        b.     For purposes of this paragraph (IV.H.13), effective April 19, 2018, and
               throughout the remaining Term of this Agreement, Successor in
               Interest shall mean a person to whom an ownership interest in a
               property securing a mortgage loan subject to this Agreement is
               transferred from a borrower, provided that the transfer is:
                   i.   A transfer by devise, descent, or operation of law on the death
                        of a joint tenant or tenant by the entirety;
                 ii.    A transfer to a relative resulting from the death of a borrower;
                 iii.   A transfer where the spouse or children of the borrower
                        become an owner of the property;

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                 iv.   A transfer resulting from a decree of a dissolution of marriage,
                       legal separation agreement, or from an incidental property
                       settlement agreement, by which the spouse of the borrower
                       becomes an owner of the property; or
                 v.    A transfer into an inter vivos trust in which the borrower is and
                       remains a beneficiary and which does not relate to a transfer
                       of rights of occupancy in the property.
        c.     For purposes of this paragraph (IV.H.13), a Confirmed Successor in
               Interest means a Successor in Interest once the Servicer has confirmed
               the Successor in Interest’s identity and ownership interest in a property
               that secures a mortgage loan subject to this Agreement.
        d.     Servicer shall implement policies and procedures that are reasonably
               designed to ensure Servicer can promptly identify and facilitate
               communications with a potential Successor in Interest upon
               notification of the death of a borrower or another transfer of a property
               securing a mortgage loan. For purposes of this paragraph (IV.H.13), a
               Potential Successor in Interest means an individual who asserts an
               ownership interest in real property secured by a mortgage loan as a
               result of any of the circumstances arising under paragraphs IV.H.13.a-
               b.
        e.     Upon receipt of a loss mitigation application from a potential
               Successor in Interest or a written request from a Potential Successor in
               Interest that includes the name of the prior borrower and information
               that enables Servicer to identify the borrower’s mortgage loan
               account, Servicer shall promptly send a written notice to the Potential
               Successor in Interest with a description of the documents Servicer
               requires in order to confirm that the requestor is a Successor in Interest
               in the property.
        f.     Servicer’s request for documentation shall be tailored to the specific
               type of transfer that gives rise to the Successor in Interest’s ownership
               interest. Servicer shall not require a Potential Successor in Interest to
               submit documentation which is not required by applicable law in order
               to prove the ownership interest.
        g.     Upon receipt of all documents requested by Servicer, Servicer shall
               send a written and electronic (if available) notice confirming or
               denying the requestor’s status as a Successor in Interest or identifying
               any additional documents that are required within five business days.
        h.     Servicer may condition the offer of a loan modification to a Confirmed
               Successor in Interest upon assumption of the loan.
  14.   Servicer shall treat government benefits as a legitimate source of income for
        the purposes of evaluating borrowers for loan modification options and shall
        not require additional information regarding the manner in which the
        government benefits are used by borrowers. Notwithstanding this provision,

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               Servicer shall not be required to consider unemployment benefits as a
               legitimate source of income for purposes of evaluating borrowers for loan
               modification options.
I.    Short Sales.
       1.      General Provisions.
               a.     Servicer shall make publicly available information on general
                      requirements for the short sale process.
               b.     Servicer shall offer appropriate investor approved monetary
                      incentives to underwater borrowers to facilitate short sale options.
               c.     Servicer shall develop a cooperative short sale process which allows
                      the borrower the opportunity to engage with Servicer to pursue a
                      short sale evaluation prior to putting home on the market.
               d.     When Servicer conditionally approves borrower for a short sale,
                      Servicer shall send a notice to the borrower within 30 days of
                      receiving the loss mitigation application that includes basic
                      information about the short sale process, Servicer’s requirements,
                      and states clearly and conspicuously that Servicer may demand a
                      deficiency payment if such deficiency claim is permitted by
                      applicable law.
               e.     If the short sale request is accepted, Servicer shall
                      contemporaneously notify the borrower whether Servicer or
                      investor will demand a deficiency payment or related cash
                      contribution and the approximate amount of that deficiency, if such
                      deficiency obligation is permitted by applicable law.
               f.     If the short sale request is denied, Servicer shall provide reasons for
                      the denial in the written notice. If Servicer waives a deficiency
                      claim, it shall not sell or transfer such claim to a third-party debt
                      collector or debt buyer for collection.
J.     Loss Mitigation During Bankruptcy.
       1.      Servicer may not deny any loss mitigation option to eligible borrowers on
               the basis that the borrower is a debtor in bankruptcy so long as borrower and
               any trustee cooperates in obtaining any appropriate approvals or consents.
       2.      Servicer shall, to the extent reasonable, continue to accept payments under
               trial period loan modification plans as necessary to accommodate delays in
               obtaining bankruptcy court approvals or receiving full remittance of
               debtor’s trial period payments that have been made to a chapter 13 trustee.
               In such event, the debtor must make a trial period payment for each
               additional month of the trial period, including any months during which
               such accommodation is necessary, and Servicer shall not revoke or
               withdraw any modification offer while final bankruptcy court approval of
               such modification is pending.


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       3.      When the debtor is in compliance with a trial period or permanent loan
               modification plan, Servicer will not object to confirmation of the debtor’s
               chapter 13 plan, move to dismiss the pending bankruptcy case, or file a MRS
               solely on the basis that the debtor paid only the amounts due under the trial
               period or permanent loan modification plan, as opposed to the non-modified
               mortgage payments.
K.    Transfer of Servicing of Loans.
       1.      This paragraph (IV.K) shall apply to all sales or transfers of servicing,
               including subservicing.
       2.      At the time of transfer or sale, Servicer shall inform the successor servicer
               whether a loss mitigation application is pending.
       3.      Transfer of Servicing to Servicer.
               a.     Servicer must accept and continue to process pending loss
                      mitigation applications from the prior servicer.
                      i.      Servicer must process pending loss mitigation applications
                              upon the same time frames that applied to the transferor
                              servicer prior to the transfer, except in the following
                              situations:
                              (a)       If the transferor servicer received a loss mitigation
                                        application but had not yet sent the borrower a letter
                                        either confirming that the application is complete or
                                        identifying missing documents or information,
                                        Servicer must send such a letter within 10 days of the
                                        transfer date.
                              (b)       If the transfer servicer received a complete loss
                                        mitigation application but had not yet completed its
                                        evaluation, Servicer must complete the loss
                                        mitigation evaluation within 30 days of the transfer
                                        date.
                      ii.     Servicer may not attempt to obtain from the borrower any
                              missing information or documents that were previously
                              submitted by the borrower to the transferor servicer, without
                              first contacting the transferor servicer to attempt to obtain
                              the missing information or documents.
                      iii.    If the transferor servicer denied a loan modification
                              application prior to the transfer and the denial notice
                              provides the borrower with the right to appeal the denial,
                              Servicer must honor the appeal deadline before taking any
                              adverse action against the borrower. If there is a pending
                              appeal at the time of the transfer, or if an appeal is made after
                              the transfer date, the Servicer must make a determination
                              within 30 days of the transfer date or within 30 days of the

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                    date the borrower made the appeal, whichever is later. If
                    Servicer is unable to make a determination as to the appeal,
                    Servicer must treat the borrower’s application as a pending
                    complete application as of the date the appeal was received
                    by the transferor servicer or Servicer, whichever occurs first,
                    and evaluate the borrower for all loss mitigation options.
              iv.   Where a loan file indicates that a loss mitigation request was
                    pending within 60 days of transfer or a borrower indicates
                    the same, and Servicer lacks clear written evidence of a loss
                    mitigation denial by the prior servicer, Servicer shall take all
                    reasonable steps to obtain confirmation from the prior
                    servicer of the status of any loss mitigation activity or review
                    of a loss mitigation request and shall:
                    (a)    Where the prior servicer’s review was not complete,
                           complete the review of the borrower’s prior loss
                           mitigation request, after notifying the borrower of
                           any necessary information missing from such
                           application, and afford the borrower an opportunity
                           to have the loss mitigation request reviewed through
                           the independent evaluation and appeal process under
                           paragraphs IV.F.6 and IV.G; or
                    (b)    Provide the borrower a written denial notice, in
                           compliance with paragraph IV.F.7, and if the denial
                           is of a trial plan or loan modification, provide the
                           borrower 14 days to request an appeal under
                           paragraph IV.G.
        b.    Servicer must honor trial and permanent loan modification
              agreements entered into by the prior servicer.
              i.    If the transferor servicer extended a trial or permanent loan
                    modification offer to the borrower and the borrower’s time
                    period to accept or reject the offer has not expired as of the
                    transfer date, Servicer must ensure that the borrower has 14
                    days from the date of transfer to accept or reject the offer.
              ii.   If Servicer does not have evidence of a loan modification
                    offer or agreement from the transferring servicer, but the
                    borrower provides a copy of a loan modification offer or
                    agreement, and the borrower has complied in good faith with
                    the terms of that offer or agreement, that shall be deemed
                    evidence of a loan modification offer or agreement. A
                    borrower making payments that conform to the payment
                    terms of the offer shall be deemed to be the borrower’s good
                    faith compliance with the terms of the offer or agreement.
                    However, if Servicer reasonably suspects potential fraud on
                    the part of the borrower or their authorized agent, it may

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                      perform additional due diligence to confirm the validity of
                      the loan modification offer or agreement, which shall
                      include, but is not limited to, reasonable diligence in
                      contacting the prior servicer before agreeing to honor the
                      offer or agreement.
              iii.    Servicer must ensure that trial period payments, including
                      those received by the prior servicer, are applied in
                      accordance with the trial period plan.
              iv.     Servicer must ensure that post-modification payments,
                      including those received by the prior servicer, are applied in
                      accordance with the modified loan documents.
        c.    Within 15 days after the transfer, Servicer must send a written notice
              to the borrower that contains the following items:
              i.      The effective date of transfer of the servicing;
              ii.     The name, address, and a collect call or toll-free telephone
                      number for an employee or department of the transferee
                      servicer that can be contacted by the borrower to obtain
                      answers to servicing transfer inquiries;
              iii.    The name, address, and a collect call or toll-free telephone
                      number for an employee or department of the transferor
                      servicer that can be contacted by the borrower to answer
                      inquiries relating to the transfer of servicing;
              iv.     The date on which the transferor servicer will cease to accept
                      payments relating to the loan and the date on which the
                      transferee servicer will begin to accept such payments.
                      These dates shall either be the same or consecutive days;
              v.      Whether the transfer will affect the terms or the continued
                      availability of mortgage life or disability insurance, or any
                      other type of optional insurance, and any action the borrower
                      must take to maintain such coverage;
              vi.     A statement that the servicing transfer does not affect any
                      term or condition of the security instrument other than terms
                      directly related to the servicing of such loan;
              vii.    The date for which the loan is due and the total amount of
                      the unpaid principal balance;
              viii.   If there is an escrow account, Servicer must provide the
                      escrow account balance according to the records received by
                      Servicer; and
              ix.     If Servicer is aware that there is a pending loss mitigation
                      application or pending trial plan at the time of transfer,
                      Servicer must acknowledge that there is a pending

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                      application and that a review for a permanent payment
                      solution is in process.
        d.    Within five days after delivery of the notice in paragraph IV.K.3.c
              (above), Servicer shall provide to any borrower that is at least 30
              days delinquent at the time of transfer a notice indicating that the
              loan was delinquent at time of transfer according to the records
              received by Servicer.
        e.    For the 60 days beginning on the effective date of the transfer of
              servicing of any mortgage loan, if the transferor servicer (rather than
              the transferee Servicer that should properly receive payment on the
              loan) received payment on or before the applicable due date
              (including any grace period allowed under the mortgage loan
              instruments), a payment may not be treated as late for any purpose.
              i.      Servicer shall not charge or collect a late fee for any such
                      payment.
              ii.     Servicer must report any such payment as a timely made
                      payment to credit reporting agencies, and Servicer shall not
                      provide any adverse information about any such payment to
                      credit reporting agencies.
        f.    Servicer shall not commence, refer to, or proceed with foreclosure
              until Servicer has satisfied all requirements under paragraphs
              IV.K.3.a and IV.K.3.b.
  4. Additional Requirements for Transfer of Servicing of Loans where the
     Borrower is in Bankruptcy.
        a.    The following shall apply to all transfers of servicing rights to a third
              party from Servicer, including subservicing:
              i.      At the time of transfer or sale, Servicer shall inform the
                      successor servicer or subservicer whether a borrower is a
                      debtor in a bankruptcy proceeding.
              ii.     Any contract for the transfer or sale of servicing rights
                      entered into by Servicer shall obligate the successor servicer
                      to ensure that payments for borrowers in active chapter 13
                      bankruptcy cases continue to be applied consistent with
                      paragraphs I.B.13.a-b.
        b.    The following shall apply to all transfers of servicing rights to
              Servicer from a third party, including prior servicers or subservicers:
              i.      At the time of transfer or sale, Servicer shall identify whether
                      a borrower is a debtor in a bankruptcy proceeding.
              ii.     In any POC, MRS, or other document filed by or on behalf
                      of Servicer in a bankruptcy proceeding, Servicer shall not
                      impose or collect fees or charges assessed by a prior servicer,

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                                   unless Servicer has properly itemized and verified those fees
                                   and charges, and otherwise complied with the requirements
                                   of paragraphs I.D., III.B, and VI.
V.   PROTECTIONS FOR MILITARY PERSONNEL.
     A.     When a borrower states that he or she is or was within the preceding one year (or
            the then applicable statutory period under the Servicemembers Civil Relief Act
            (“SCRA”), 50 U.S.C. § 3901 et seq.) in active military service or has received and
            is subject to military orders requiring him or her to commence active military
            service, Servicer shall determine whether the borrower may be eligible for the
            protections of the SCRA. If Servicer determines the borrower is so eligible, Servicer
            shall, until Servicer determines that such borrower is no longer protected by the
            SCRA,
            1.     If such borrower is not entitled to a SPOC, route such borrowers to
                   employees who have been specially trained about the protections of the
                   SCRA to respond to such borrower’s questions; or
            2.     If such borrower is entitled to a SPOC, designate as a SPOC for such
                   borrower a person who has been specially trained about the protections of
                   the SCRA (Servicemember SPOC).
     B.     Servicer shall, in addition to any other reviews it may perform to assess eligibility
            under the SCRA, (i) before referring a loan for foreclosure, (ii) within seven days
            before a foreclosure sale, and (iii) the later of (A) promptly after a foreclosure sale
            and (B) within three days before the regularly scheduled end of any redemption
            period, determine whether the secured property is owned by a servicemember
            covered under SCRA by searching the Defense Manpower Data Center (DMDC)
            for evidence of SCRA eligibility by either (a) last name and social security number,
            or (b) last name and date of birth.
     C.     When a servicemember provides written notice of eligibility for interest rate relief
            under the SCRA, but does not provide the military orders required by 50 U.S.C. §
            3937(b)(1), Servicer shall accept, in lieu of the documentation required by 50
            U.S.C. § 3937(b)(1), a letter on official letterhead from the servicemember’s
            commanding officer that includes contact information for confirmation:
            1.     Setting forth the full name and Social Security number or date of birth of the
                   servicemember; and
            2.     Setting forth the period of military service of the servicemember and, as may
                   be applicable, that the military service of the servicemember is indefinite or
                   the date on which the military service of the servicemember ended or is
                   scheduled to end.
            In the event that a servicemember provides written notice of eligibility for interest
            rate relief under the SCRA but fails to provide either (a) a copy of military orders
            required by 50 U.S.C. § 3937(b)(1), or (b) a letter with the content described above,
            Servicer shall search the DMDC to confirm eligibility. If the DMDC records provide
            dates of service that confirm eligibility, Servicer shall provide the relief required by
            the SCRA for the dates indicated by the DMDC and shall notify the servicemember

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        that the servicemember may submit additional documentation to establish eligibility
        dates if the servicemember disagrees with the dates provided by the DMDC. If the
        DMDC records do not confirm eligibility, Servicer may deny the relief if it informs
        the servicemember in writing that he or she is not eligible for the relief unless he or
        she provides a copy of documents establishing military service. Such documents will
        include any document prepared exclusively by a branch of the military, the
        Department of Defense, or a borrower’s commanding officer that indicates that the
        borrower is on active duty (e.g., active duty orders, change of station orders, DD-214
        forms, letters from commanding officers, etc.). Servicer shall request this additional
        information before making a final determination that the servicemember is not
        eligible for relief.
D.      Servicer shall notify borrowers who are 45 days delinquent that, if they are a
        servicemember, (a) they may be entitled to certain protections under the SCRA
        regarding the servicemember’s interest rate and the risk of foreclosure, and (b)
        counseling for covered servicemembers is available at agencies such as Military
        OneSource, Armed Forces Legal Assistance, and a HUD-certified housing
        counselor. Such notice shall include a toll-free telephone number that
        servicemembers may call to be connected to a person who has been specially
        trained about the protections of the SCRA to respond to such borrower’s questions.
        Such telephone number shall either connect directly to such a person or afford a
        caller the ability to identify him- or herself as an eligible servicemember and be
        routed to such persons. Servicer hereby confirms that it intends to take reasonable
        steps to ensure the dissemination of such toll-free number to borrowers who may be
        eligible servicemembers.
E.      Servicer shall not require a servicemember to be delinquent to qualify for a short
        sale, loan modification, or other loss mitigation relief if the servicemember is
        suffering financial hardship and is otherwise eligible for such loss mitigation.
        Subject to Applicable Requirements, for purposes of assessing financial hardship
        in relation to (i) a short sale or deed in lieu transaction, Servicer will take into
        account whether the servicemember is, as a result of a permanent change of station
        order, required to relocate even if such servicemember’s income has not been
        decreased, so long as the servicemember does not have sufficient liquid assets to
        make his or her monthly mortgage payments, or (ii) a loan modification, Servicer
        will take into account whether the servicemember is, as a result of his or her military
        orders required to relocate to a new duty station at least seventy five mile from his
        or her residence/secured property or to reside at a location other than the
        residence/secured property, and accordingly is unable personally to occupy the
        residence and (a) the residence will continue to be occupied by his or her
        dependents, or (b) the residence is the only residential property owned by the
        servicemember.
F.      Servicer shall not make inaccurate reports to credit reporting agencies when a
        servicemember, who has not defaulted before relocating under military orders to a
        new duty station, obtains a short sale, loan modification, or other loss mitigation
        relief.


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VI.   RESTRICTIONS ON SERVICING FEES.
      A.      Specific Fee Provisions.
              1.     Schedule of Fees. Servicer shall maintain and keep current a schedule of
                     common state specific and non-state specific fees or ranges of fees that may
                     be charged to borrowers by or on behalf of Servicer. Servicer shall make
                     this schedule available to the borrower or borrower’s authorized
                     representative upon request. Servicer shall make available on its website a
                     list of common non-state specific fees that may be charged to the borrower.
                     For each fee identified, Servicer shall provide a plain language explanation
                     of the fee, and state the amount of the fee or how the fee is calculated or
                     determined. On its website Servicer shall also include information on how
                     a borrower could obtain more specific information concerning fees,
                     including default related fees.
              2.     If a borrower or the borrower’s representative requests a payment history,
                     account ledger, or otherwise asks Servicer to explain charges on an account,
                     Servicer must promptly provide the requested history or ledger with a plain
                     language description of the entries on the document. If Servicer uses codes
                     or abbreviations in the history or ledger, Servicer must provide a legend that
                     contains plain language descriptions of any code or abbreviation that
                     appears in the history or ledger. If a government entity requests a borrower’s
                     payment history, account ledger, or otherwise asks Servicer to explain
                     charges on an account, pursuant to paragraph IV.C.9 of this Agreement,
                     then Servicer shall promptly provide the information described in this
                     paragraph (VI.A.2) to that entity.
              3.     Attorneys’ Fees. Attorneys’ fees charged in connection with a foreclosure
                     action or bankruptcy proceeding shall only be for work actually performed
                     and shall not exceed reasonable and customary fees for such work. In the
                     event a foreclosure action is terminated prior to the final judgment and/or
                     sale for a loss mitigation option, a reinstatement, or payment in full, the
                     borrower shall be liable only for reasonable and customary fees for work
                     actually performed.
              4.     Late Fees.
                     a.     Servicer shall not impose or collect any late fee or delinquency
                            charge when the only delinquency is attributable to late fees or
                            delinquency charges assessed on an earlier payment, and the
                            payment is otherwise a full payment for the applicable period and is
                            paid on or before its due date or within any applicable grace period.
                     b.     Servicer shall not impose or collect late fees (i) based on an amount
                            greater than the past due amount; (ii) collected from the escrow
                            account or from escrow surplus refund without the approval of the
                            borrower; or (iii) deducted from any regular payment.
                     c.     Servicer shall not impose or collect any late fees for periods during
                            which (i) a complete loan modification application is under

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               consideration; (ii) the borrower is making timely trial modification
               payments; or (iii) a short sale offer is being evaluated by Servicer.
   5.    Payment Processing Fees.
         a.    Servicer shall not charge a borrower for submitting payments more
               frequently than required by the note or for submitting payments that
               exceed the current amount due.
         b.    Servicer shall not require a borrower to use any payment method
               (such as payment by phone) or any provider of payment processing
               services (payment provider) that would cause the borrower to incur
               a payment processing fee.
         c.    Servicer shall not unreasonably restrict a borrower from using a
               particular payment method or payment provider.
         d.    If Servicer promotes, directs, or refers a borrower to a particular
               payment method or payment provider and the payment method or
               payment provider would cause the borrower to incur a payment
               processing fee, Servicer shall, prior to obtaining the approval of a
               borrower to use the particular payment method or provider,
               accurately, clearly, and prominently disclose:
               i.     That the borrower is not required to use the particular
                      payment method or payment provider;
               ii.    That Servicer accepts other payment methods which the
                      borrower can use without incurring a fee;
               iii.   That the borrower has the right to select the borrower’s own
                      payment method and provider; and
               iv.    The amount of the payment processing fee.
         e.    If Servicer will receive or retain any portion of a payment processing
               fee, Servicer shall, prior to obtaining the approval of the borrower
               to use the particular payment provider and in addition to the
               disclosure required under paragraph VI.A.5.d, accurately, clearly,
               and prominently disclose:
               i.     That Servicer has a business relationship with the provider
                      of payment processing services; and
               ii.    Any financial or other benefit which Servicer will obtain if
                      the borrower uses the provider of payment processing
                      services.
         f.    Servicer shall disclose and obtain approval from the borrower in
               accordance with paragraphs VI.A.5.d-e, each time a payment
               agreement is set up or modified.
         g.    All requests to modify or cancel an existing authorization for the use
               of a particular payment method or payment provider shall be


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                       honored upon the borrower’s first written or oral request provided
                       that the request is received at least three business days before the
                       scheduled date of the transfer. Servicer may require a borrower to
                       give written confirmation of a stop-payment required within 14 days
                       of an oral notification.
               h.      Servicer shall not use unfair or deceptive acts or practices to steer
                       borrowers to a particular payment method or payment provider.
               i.      Servicer shall document all disclosures made pursuant to this
                       paragraph (VI.A.5) and retain such disclosures in accordance with
                       paragraph X.A.3.
B.      Third-Party Fees.
        1.     Servicer shall not impose unnecessary or duplicative property inspection,
               property preservation, or valuation fees on the borrower, including, but not
               limited to, the following:
               a.      No property preservation fees shall be imposed on eligible borrowers
                       who have a pending application with Servicer for loss mitigation
                       relief or are performing under a loss mitigation program, unless
                       Servicer has a documented reasonable basis to believe that property
                       preservation is necessary for the maintenance of the property, such
                       as when the property is vacant or listed on a violation notice from a
                       local jurisdiction;
               b.      No property inspection fee shall be imposed on a borrower any more
                       frequently than the time frames allowed under GSE or HUD
                       guidelines unless Servicer has identified specific circumstances
                       supporting the need for further property inspections and documented
                       such circumstances in Servicer’s system of record. Servicer and its
                       vendors shall not program their system of record to automatically
                       trigger property inspections with greater frequency than what is
                       allowed under applicable law; and
               c.      Servicer shall be limited to imposing property valuation fees (e.g.,
                       BPO) to once every 12 months, unless other valuations are requested
                       by the borrower to facilitate a short sale or to support a loan
                       modification as outlined in paragraph IV.G.2, or required as part of
                       the default or foreclosure valuation process. Pursuant to this
                       paragraph (VI.B.1.c), Servicer shall provide the borrower with a
                       copy of any valuation requested by the borrower.
        2.     Default, foreclosure, and bankruptcy-related services performed by third
               parties shall be at reasonable market value.
        3.     Servicer shall be prohibited from collecting any unearned fee, or giving or
               accepting referral fees in relation to third-party default or foreclosure-related
               services.



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               4.     Servicer shall not assess to a borrower its own mark-ups on Servicer-initiated
                      third-party default or foreclosure-related services.
       C.      Certain Bankruptcy Related Fees.
               1.     Servicer must not collect any attorneys’ fees or other charges with respect to
                      the preparation or submission of a POC or MRS document that is withdrawn
                      or denied, or any amendment thereto that is required, as a result of a
                      substantial misstatement by Servicer of the amount due.
               2.     Servicer shall not collect late fees due to delays in receiving full remittance
                      of debtor’s payments, including trial period or permanent modification
                      payments as well as post-petition conduit payments in accordance with 11
                      U.S.C. § 1322(b)(5), that debtor has timely (as defined by the underlying
                      chapter 13 plan) made to a chapter 13 trustee.
VII.   FORCE-PLACED INSURANCE.
       A.      General Requirements for Force-Placed Insurance.
               1.     Servicer shall not obtain force-placed insurance unless there is a reasonable
                      basis to believe the borrower has failed to comply with the loan contract’s
                      requirements to maintain property insurance. For escrowed accounts,
                      Servicer shall continue to advance payments for the homeowner’s existing
                      policy, unless the borrower or insurance company cancels the existing
                      policy. The term “hazard insurance” means insurance on the property
                      securing a mortgage loan that protects the property against loss caused by
                      fire, wind, flood, earthquake, theft, falling objects, freezing, and other
                      similar hazards for which the owner or assignee of such loan requires
                      insurance. The term “force-placed insurance” means hazard insurance
                      coverage obtained by Servicer on behalf of the owner or assignee of a
                      mortgage loan that insures the property securing the loan. However, for
                      purposes of this Section (VII), the term “force-placed insurance” does not
                      include hazard insurance required by the Flood Disaster Protection Act of
                      1973.
               2.     Servicer shall not be construed as having a reasonable basis for obtaining
                      force-placed insurance unless the requirements of this Section (VII) have
                      been met.
               3.     Servicer shall accept any reasonable form of written confirmation from a
                      borrower or the borrower’s insurance agent of existing insurance coverage,
                      which shall include the existing insurance policy number along with the
                      identity of, and contact information for, the insurance company or agent.
               4.     All charges and coverage amounts related to force-placed insurance
                      assessed to a borrower by or through Servicer must be bona fide and
                      reasonable.
               5.     Servicer shall make reasonable efforts to work with the borrower to
                      continue or reestablish the existing homeowner’s policy if there is a lapse
                      in payment and the borrower’s payments are escrowed.

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VIII.    RESOLUTION OF ERRORS AND COMPLAINTS.
        A.      General.
                1.     For the purposes of this Section (VIII), the following definitions shall apply.
                       a. The term “Complaint” shall mean any verbal or written complaint or
                          expression of dissatisfaction from a borrower or a borrower’s authorized
                          agent, regarding any servicing act or practice of Servicer or a Third-
                          Party Provider; or any allegation that a particular servicing act or
                          practice by Servicer or a Third-Party provider is unfair, deceptive, or in
                          violation of a law, regulation, or contractual agreement.
                       b. The term “Escalated Complaint” shall mean any written Complaint that
                          is not satisfactorily resolved, as set forth in paragraph VIII.B.6; that is
                          initiated using any method Servicer provides for the submission of
                          Escalated Complaints, as set forth in paragraph VIII.A.2; or that is
                          directed to any of Servicer’s officers, Board members, or senior
                          management; or any notice of error, as that term is defined in 12 CFR
                          1024.25, as may be amended from time to time.
                2.     Servicer shall maintain, and shall provide written notice to borrowers of,
                       readily available methods for the submission of Complaints, Escalated
                       Complaints, and Notices of Error. Servicer shall post the designated
                       methods on any website maintained by Servicer that lists any contact
                       address for Servicer.
                3.     Servicer shall maintain a competent and adequate process for dispute
                       escalation.
                4.     Servicer shall maintain competent and adequate staffing, systems, and
                       policies, and shall conduct adequate reviews and audits, to ensure
                       compliance with the provisions of this Section (VIII).
        B.      Complaints.
                1.     If the representative to whom a Complaint is made is unable to receive the
                       Complaint, that representative shall:
                       a.     In the case of a verbal Complaint, promptly transfer the borrower to
                              staff that is able to receive and respond to the Complaint; or
                       b.     In the case of a written Complaint, promptly forward the complaint
                              to the department that is able to receive and respond to the
                              Complaint.
                2.     Servicer shall request from the complainant any information reasonably
                       necessary to timely and accurately investigate and respond to the
                       Complaint. In the case of a verbal Complaint, such requests shall be made
                       verbally and contemporaneously to the extent possible. In the case of a
                       written Complaint, such requests shall be made promptly.
                3.     Upon request, Servicer shall provide the name and operator identification
                       of the representative to whom the complainant is currently speaking.

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        4.     Servicer shall promptly provide a complainant with verbal and written
               information about how to submit a Notice of Error upon request or if the
               complainant indicates that he or she would like to submit a Notice of Error
               or believes he or she is doing so. Indications that a complainant would like
               to submit a Notice of Error or believes that he or she is doing so include,
               but are not limited to, references to the phrase “notice of error” or references
               to complaint or error resolution procedures provided by the law, regulations,
               or the Consumer Financial Protection Bureau.
        5.     Upon request, or if a representative is unable to resolve a Complaint, the
               Complaint shall be referred to a supervisor or manager. In the case of a
               verbal Complaint, the complainant shall immediately be transferred to a
               supervisor or a manager or, if a supervisor or manager is not readily
               available, the supervisor or manager shall return the complainant’s call. In
               the case of a written Complaint, a supervisor or manager shall promptly
               respond to the Complaint.
        6.     Servicer shall promptly provide a complainant with verbal and written
               information about how to submit a Notice of Error, and additionally shall
               immediately escalate a written Complaint as an Escalated Complaint, if,
               after a verbal or written Complaint is referred to a supervisor or manager:
               a.      The complainant asks to speak with a higher-ranking employee;
               b.      The Supervisor or manager does not have the authority or ability to
                       resolve the Complaint;
               c.      The supervisor or manager does not resolve the Complaint within
                       seven business days of receiving the Complaint; or
               d.      The complainant expresses frustration or dissatisfaction, expresses
                       that the Complaint has not been resolved, expresses that the
                       resolution offered is wrong or unacceptable, expresses that he or she
                       has complained of the same issue in the past or that the Complaint
                       is recurring, or requests further assistance or investigation regarding
                       the Complaint.
C.      Escalated Complaints.
        1.     Within five business days of receiving an Escalated Complaint, Servicer
               shall provide to the complainant a written response acknowledging receipt
               of the Escalated Complaint, unless Servicer corrects the error or errors
               asserted in the Escalated Complaint and notifies the complainant of that
               correction in writing within five business days. The acknowledgement shall
               include:
               a. A statement that the Servicer must provide a written response resolving
                  the Escalated Complaint within 30 business days of receiving the
                  Escalated Complaint, and a statement that Servicer may extend the time
                  period for responding by an additional 15 business days if, before the
                  end of the 30-day period, Servicer notifies the complainant of the
                  extension and the reasons for the extension in writing; and

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         b. Contact information, including a toll-free telephone number, for further
            assistance.
   2.    Upon receipt of an Escalated Complaint, Servicer shall cease collection of
         any amount alleged to be in error until Servicer has investigated and
         responded to the Escalated Complaint. If Servicer has determined that no
         error has occurred, it may resume collection of amounts, including amounts
         that accrued during the investigation period.
   3.    Servicer shall promptly and accurately investigate and respond to Escalated
         Complaints within 30 business days of receiving the Escalated Complaint.
         Investigation and response includes correction of any errors identified with
         the complainant’s account, including errors discovered in the course of
         investigation other than those alleged by the complainant, and remedial or
         other action necessary to resolve the Escalated Complaint. Servicer may
         extend the time period for responding to an Escalated Complaint by one
         additional period of 15 business days if, before the end of the 30 business
         day period, it notifies the borrower of the extension and the reasons for the
         extension in writing.
   4.    Servicer’s investigation of an Escalated Complaint shall be based on all
         relevant documents and information in its possession, custody, or control or
         that is reasonably accessible to Servicer.
   5.    If Servicer determines as a result of its investigation of an Escalated
         Complaint that no error occurred based in whole or in part on a lack of
         documents or information, and if Servicer can identify what documents or
         information are necessary to determine if an error occurred, it shall provide
         the borrower with notice as to the missing information or documentation.
   6.    If Servicer concludes as a result of its investigation of an Escalated
         Complaint that an error occurred, it shall immediately correct all errors and
         restore the complainant’s account to the position it would be in if Servicer
         had not made the error, including reversing and refunding any fees, charges,
         or other amounts incurred as a result of the error and correcting any
         subsequent payment misapplication or credit reporting arising from the
         error.
   7.    Servicer shall provide a complainant with written notification of its
         resolution of an Escalated Complaint within the time period specified in
         paragraph VIII.C.3. The notification shall include contact information,
         including a toll-free telephone number, for further assistance, and shall:
         a.     Notify the complainant of the corrections made, remedial actions
                taken, or other actions taken to resolve the Escalated Complaint,
                including the effective date of such corrections and/or actions; or
         b.     State Servicer’s basis for its resolution, including the findings that
                led Servicer to determine that there was insufficient basis to
                conclude that an error or improper act occurred, a statement that the
                complainant may request documents relied upon by Servicer in

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                           reaching its determination, and information regarding how the
                           complainant can request such documents.
              8.    Upon request by a complainant who submitted an Escalated Complaint,
                    Servicer shall provide, at no charge, copies of documents and information
                    relied upon by Servicer in making its determination that no error occurred
                    within 15 business days of receiving such request. Servicer is not required
                    to provide documents that constitute confidential, proprietary, or privileged
                    information. If Servicer withholds confidential, proprietary, or privileged
                    information, it shall notify the complainant of its determination in writing
                    within 15 business days of receiving the complainant’s request for such
                    documents. In its response to a request for documentation, Servicer may
                    omit location and contact information and personal financial information
                    (other than information about the terms, status, and payment history of the
                    mortgage loan) if: (i) the information pertains to a potential or Confirmed
                    Successor in Interest who is not the requestor; or (ii) the requestor is a
                    Confirmed Successor in Interest and the information pertains to any
                    borrower who is not the requestor.
      D.      Documentation and Tracking.
              1.    Servicer shall document in its system of record the receipt of, investigation
                    of, and response to Complaints and Escalated Complaints, including
                    additional information received and communications regarding Complaints
                    and Escalated Complaints.
              2.    Servicer shall maintain adequate systems and processes to track the status of
                    Complaints and Escalated Complaints and, upon complainant request,
                    provide accurate and timely information regarding the complainant’s
                    Complaint or Escalated Complaint.
              3.    Servicer shall maintain documentation of the receipt of, investigation of, and
                    response to Complaints and Escalated Complaints.
              4.    Unless otherwise prohibited by law, Servicer shall record and maintain all
                    inbound and outbound calls to and from complainants, and shall maintain
                    such recordings and call information in a manner allowing for retrieval and
                    production of such information and recordings upon any specific request by
                    the Parties of this Agreement. If so requested, such retrieval and production
                    shall be made within two weeks, or a shorter time period if specified by or
                    allowable under applicable state law or regulation.
IX. GENERAL SERVICER DUTIES AND PROHIBITIONS.
      A.      Measures to Deter Community Blight.
              1.    Servicer shall develop and implement policies and procedures to ensure that
                    REO properties do not become blighted.
              2.    As indicated in paragraph I.A.13, Servicer shall (a) inform borrower that if
                    the borrower continues to occupy the property, he or she has responsibility
                    to maintain the property, and an obligation to ensure that taxes are paid,

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                     until a sale or other title transfer action occurs; and (b) request that if the
                     borrower does not wish to continue to occupy the property, he or she contact
                     Servicer to discuss alternatives to foreclosure under which borrower can
                     surrender the property to Servicer in exchange for possible compensation.
              3.     When Servicer makes a determination not to pursue foreclosure action on a
                     property, Servicer shall, within 30 days, by written and electronic means (if
                     available):
                     a.      Notify the borrower of Servicer’s decision to not pursue foreclosure,
                             and inform borrower about his or her right to occupy the property
                             until a sale or other title transfer action occurs; and
                     b.      Notify local authorities, such as courts or code enforcement
                             departments, when Servicer decides to not pursue foreclosure.
      B.      Borrowers with Limited English Proficiency (“LEP”).
              1.     Servicer shall develop, maintain, and implement policies and procedures
                     related to borrowers with LEP. Servicer shall ensure that its services provided
                     to LEP borrowers are consistent with its policies and procedures.
              2.     Servicer shall provide translation services which shall be available to assist
                     LEP borrowers on an as-needed basis.
              3.     When evaluating borrowers for loss mitigation options, Servicers shall accept
                     hardship letters and state and federal government forms that are in a language
                     other than English.
              4.     Servicer shall require its vendors for mortgage servicing activities which
                     require regular interaction with borrowers to develop, maintain, and
                     implement reasonable policies and procedures related to borrowers with LEP.
      C.      Whistleblower Provision.
              Servicer shall maintain policies and procedures encouraging employees at any level
              to report, without repercussion or retaliation, to senior management level employees
              independent from the servicing operation any actual or potential deficiencies or
              issues that arise with regard to Servicer’s mortgage servicing operations, duties, and
              responsibilities, including those arising under this Agreement. Such policies and
              procedures shall include the maintenance of a toll-free hotline and allow for
              anonymous reporting.
X.   GENERAL PROVISIONS, DEFINITIONS, AND IMPLEMENTATION.
      A.      Applicable Requirements.
              1.     The servicing standards set forth in this Agreement and any modifications
                     or other actions taken in accordance with these servicing standards are
                     expressly subject to, and shall be interpreted in accordance with, (a)
                     applicable federal, state, and local laws, rules, and regulations, including,
                     but not limited to, any requirements of the state and federal banking
                     regulators, (b) the terms of the applicable mortgage loan documents, (c)
                     Section 201 of the Helping Families Save Their Homes Act of 2009, (d) the

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               terms and provisions of the Servicer Participation Agreement with the
               Department of Treasury, (e) any servicing agreement, subservicing
               agreement under which Servicer services for others, special servicing
               agreement, mortgage or bond insurance policy or related agreement or
               requirements to which Servicer is a party and by which it or its servicing is
               bound pertaining to the servicing or ownership of the mortgage loans,
               including without limitation the requirements, binding directions, or
               investor requirements of the applicable investor (such as Fannie Mae or
               Freddie Mac), mortgage or bond insurer, or credit enhancer, and (f) no-
               contact or cease-and-desist requests made by borrowers (collectively, the
               “Applicable Requirements”).
        2.     In the event of a conflict between the requirements of this Agreement and
               the Applicable Requirements with respect to any provision of this
               Agreement such that Servicer cannot comply without violating Applicable
               Requirements or being subject to adverse action, including fines and
               penalties, Servicer shall document such conflicts and notify the Executive
               Committee that it intends to comply with the Applicable Requirements to
               the extent necessary to eliminate the conflict.
B.      3.      Unless otherwise specified, Servicer shall maintain all of the records, reports,
        recordings, data, and documentation referenced in this Agreement for the duration of
        this Agreement. Applicable Dates for Written Communications Required by this
        Agreement.
        1.     Servicer shall date all written communication to borrowers, occupants,
               Successors in Interest, and Potential Successors in Interest, and Servicer
               shall promptly mail all written communication to the recipient.
        2.     Servicer shall ensure that its third party vendor mail all written
        communications to borrowers, occupants, Successors in Interest, and Potential
        Successors in Interest in accordance with its third party vendor contracts. 3.
               Servicer shall maintain records of mailing of all written communications in
               a form and manner that is accessible to the Executive Committee.
C.      Duty to Notify.
        1.     Unless prohibited by law, Servicer shall notify the Executive Committee in
               writing within 15 days after Servicer receives notification of license denial,
               cease and desist, suspension or revocation procedures, or other formal
               regulatory action in any state, or within 15 days of the initiation of any
               action by the Attorney General of any state related to residential mortgage
               servicing or within 15 days of settlement agreement or other form of
               consensual resolution, or entry of judgment in any administrative, civil, or
               criminal investigation or action by any state or federal authority, provided
               that such violation of law, investigation, or action pertains to residential
               mortgage servicing.
        2.     Servicer shall provide such additional information as may be requested by
               the Executive Committee, including, but not limited to, copies of


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               correspondence pertaining to the investigation, on-going updates, and
               copies of any resulting pleadings, judgments, or orders, that are not
               privileged or subject to a confidentiality agreement.
        3.     In the event that Servicer intends to operate or utilize an auction business,
               or to require borrowers to use auction websites, Servicer shall, prior to
               implementation, give the Executive Committee 90 days’ notice of its intent
               to do so.
D.      Definitions.
        1.     In each instance in this Agreement in which Servicer is required to ensure
               adherence to, or undertake to perform certain obligations, it is intended to
               mean that Servicer shall (a) authorize and adopt such actions on behalf of
               Servicer as may be necessary for Servicer to perform such obligations and
               undertakings; (b) follow up on any material non-compliance with such
               actions in a timely and appropriate manner; (c) require corrective action be
               taken in a timely manner of any material non-compliance with such
               obligations; and (d) take appropriate remedial steps if deficiencies are
               identified, including appropriate remediation in individual cases.
        2.     References to Servicer shall mean PHH Mortgage Corporation. The
               provisions of this Agreement shall not apply to those divisions or major
               business units of Servicer that are not engaged as a primary business in
               customer-facing servicing of residential mortgages on owner-occupied one-
               to-four family properties on its own behalf or on behalf of investors. The
               provisions of this Agreement shall not bind any successors or assigns, future
               purchasers of all or substantially all of the assets of PHH Corporation or
               PHH Mortgage Corporation or successors-in-interest of PHH Corporation
               or PHH Mortgage Corporation. Notwithstanding the foregoing, in the event
               of the sale of Servicer’s servicing/subservicing platform, Servicer will work
               with the government signatories to ensure an orderly transition of serviced
               loans to any new servicer/subservicer of such loans.




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                 DISTRIBUTION OF BORROWER PAYMENT AMOUNT


       1.      The Borrower Payment Amount shall be administered under the direction and

control of the Executive Committee in the following manner.

       2.      Within thirty (30) days of the Effective Date of this Consent Judgment, the

Executive Committee shall choose and retain a Settlement Administrator (“the Administrator”)

to administer the distribution of cash payments to individual Borrowers under this Consent

Judgment. All costs and expenses of the Administrator, including taxes, shall be paid from the

Borrower Payment Amount.

       3.      Defendant shall provide to the Administrator all information already in its

possession and readily available that is reasonably necessary for the administration of this

Consent Judgment, within a reasonable time after receipt of the request for information.

Defendant is ordered herein to provide such information under 15 U.S.C. § 6802(e)(1)(A), (5)

and (8) of the Gramm-Leach-Bliley Act. Such information pertaining to individual eligible

Borrowers, including names and other identifying information, may be provided to individual

states, but only if the information is used by the individual states or their authorized

representative solely for the purpose of contacting eligible Borrowers, responding to inquiries

from Borrowers regarding their eligibility or concerning the award of Borrower payments under

this Consent Judgment, and/or complying with tax reporting and withholding obligations, if any.

The Administrator shall utilize appropriate information security protocols to ensure the privacy

of Borrower information and otherwise comply with all applicable privacy laws. After the

completion of the Borrower Payment process, upon request the Administrator shall provide a

report to Defendant identifying which Borrowers have received payment. In addition, Defendant

may request from the Administrator such interim reports as may be deemed reasonable by the

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Executive Committee and such agreement, consent, or approval shall not be unreasonably

withheld. Interim reports necessary to ensure that Borrowers will not receive duplicate payments

by virtue of litigation, the foreclosure payments required by federal banking agencies, or

otherwise, hereby are deemed reasonable. Defendant shall warrant to the Executive Committee

at the time of supplying information to the Administrator that the information is complete and

accurate to the best of its knowledge and capability. Defendant’s duty to supply complete and

accurate information, to the best of its knowledge and capability, regarding eligible Borrowers

shall continue throughout the administration process.

       4.      The Administrator shall permit reasonable onsite inspection by the Executive

Committee on the premises of the Administrator to monitor administration of this Consent

Judgment.

       5.      As a condition to receipt of any payments pursuant to this process, Borrowers

must agree that such payment shall offset and operate to reduce any other obligation Defendant

or Defendant’s affiliates or subsidiaries have to the Borrowers to provide compensation or other

payments. However, Borrowers shall not be required to release or waive any other right or legal

claim as a condition of receiving such payments.

       6.      Any cash payment to individual Borrowers awarded under the terms of this

Consent Judgment is not and shall not be considered as forgiven debt.

       7.      For Borrowers who lost their home to foreclosure, the purposes of the payments

described in this Exhibit B are remedial and relate to the reduction in the proceeds deemed

realized by Borrowers for tax purposes from the foreclosure sale of residential properties owned

by the Borrowers allegedly resulting from the allegedly unlawful conduct of the Defendant.

       8.      In accordance with written instructions from the Executive Committee, the



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Defendant shall make thirty-one million, four hundred and fifty-six thousand, two hundred and

ten dollars ($31,456,210) of the Settlement Amount available to the Administrator to provide

cash payments to (a) Borrowers whose loans were serviced by Defendant at the time the

foreclosure was completed and whose homes were sold or taken in foreclosure between and

including January 1, 2009, and December 31, 2012 or (b) all other Borrowers whose loans were

serviced by Defendant and referred to foreclosure during that same time period and not

accounted for in (a) above; who submit claims allegedly arising from the Covered Conduct (as

that term is defined in Exhibit C hereto); and who otherwise meet criteria set forth by the

Executive Committee; and to pay the reasonable costs and expenses of a Settlement

Administrator, including taxes and fees for tax counsel, if any. Any amounts made available

hereunder remain a part of the Qualified Settlement Fund until distributed to Borrowers and shall

be administered in accordance with the terms set forth in this Exhibit B.

       9.      Interest earned on amounts held in the Qualified Settlement Fund, if any, may be

used, at the discretion of the Executive Committee, to pay the costs and expenses of

administration (including taxes), for Borrower payments, or for any other housing-related

purpose.

       10.     The Administrator is responsible for ensuring that any uncashed checks that have

passed their stale date, issued to Borrowers entitled to payment from the Borrower Payment

Amount shall be escheated to the state of the Borrower’s last known address so that such

Borrower, or such Borrower’s rightful heirs, will maintain their ability to claim such payment

pursuant to that state’s processes for collecting unclaimed funds.




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                                             RELEASE

       I.        Covered Conduct

       For purposes of this Release, the term “Covered Conduct” means residential mortgage

loan servicing and residential mortgage foreclosure services, as defined below. For the purposes

of this Release, Released Parties shall include PHH Mortgage Corporation (“Defendant” or

“PHH”), including PHH’s current and former parent corporations or other forms of legal entities,

direct and indirect subsidiaries, brother or sister corporations or other forms of legal entities,

divisions or affiliates, and the predecessors, successors, and assigns of any of them, as well as the

current and former directors, officers, and employees of any of the foregoing.

       For purposes of this Section I only, the term Released Parties includes agents (including,

without limitation, third party vendors) of the Released Parties and the Released Parties are

released from liability for the covered conduct acts of their agents (including, without limitation,

third-party vendors). This Release does not release the agents (including, without limitation,

third-party vendors) themselves for any of their conduct. For purposes of this Release, the term

“residential mortgage loans” means loans secured by one- to four- family residential properties,

irrespective of usage, whether in the form of a mortgage, deed of trust, or other security interest

creating a lien upon such property or any other property described therein that secures the related

mortgage note.

       For purposes of this Release, the term “residential mortgage loan servicing” means all

actions, errors or omissions of the Released Parties, arising out of or relating to servicing

(including subservicing and master servicing) of residential mortgage loans from and after the

closing of such loans, whether for the Released Parties’ account or for the account of others,


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including, but not limited to, the following: (1) Loan modification and other loss mitigation

activities, including, without limitation, extensions, forbearances, payment plans, short sales and

deeds in lieu of foreclosure, and evaluation, approval, denial, and implementation of the terms

and conditions of any of the foregoing; (2) Communications with borrowers relating to borrower

accounts, including, without limitation, account statements and disclosures provided to

borrowers; (3) Handling and resolution of inquiries, disputes or complaints by or on behalf of

borrowers; (4) Collection activity related to delinquent borrower accounts; (5) Acceptance,

rejection, application or posting of payments made by or on behalf of borrowers, including,

without limitation, assessment and collection of fees or charges, placement of payments in

suspense accounts and credit reporting; (6) Maintenance, placement or payment (or failure to

make payment) of any type of insurance or insurance premiums, or claims activity with respect

to any such insurance; (7) Payment of taxes, homeowner association dues, or other borrower

obligations, and creation and maintenance of any escrow accounts; (8) Use, conduct or

supervision of vendors, agents and contract employees, whether affiliated or unaffiliated,

including, without limitation, sub-servicers and foreclosure and bankruptcy attorneys, in

connection with servicing, loss mitigation, and foreclosure activities; (9) Adequacy of staffing,

training, systems, data integrity or security of data that is related to the servicing of residential

mortgage loans, foreclosure, bankruptcy, and property sale and management services; (10)

Securing, inspecting, repairing, maintaining, or preserving properties before and after foreclosure

or acquisition or transfer of title; (11) Servicing of residential mortgage loans involved in

bankruptcy proceedings; (12) Obtaining, executing, notarizing, endorsing, recording, providing,

maintaining, registering (including in a registry system), and transferring promissory notes,


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mortgages, or mortgage assignments or other similar documents, or transferring interests in such

documents among and between servicers and owners, and custodial functions or appointment of

officers relating to such documents; (13) Decisions on disposition of residential mortgage loans,

including, without limitation, whether to pursue foreclosure on properties, whether to assert or

abandon liens and other claims and actions taken in respect thereof, and whether to pursue any

particular loan modification or other form of loss mitigation; (14) Servicing of residential

mortgage loans of borrowers who are covered by federal or state protections due to military

status; (15) Licensing or registration of employees, agents, vendors or contractors, or designation

of employees as agents of another entity; (16) Quality control, quality assurance, compliance,

audit testing, oversight, reporting, or certification or registration requirements related to the

foregoing; and (17) Trustee functions related to the servicing of residential mortgage loans.

        For purposes of this Release, the term “residential mortgage foreclosure services” means

all actions, errors or omissions of the Released Parties arising out of or relating to foreclosures

on residential mortgage loans, whether for the Released Parties’ own account or for the account

of others, including, but not limited to, the following: (1) Evaluation of accounts for modification

or foreclosure referral; (2) Maintenance, assignment, recovery and preparation of documents that

have been filed or otherwise used to initiate or pursue foreclosures, and custodial actions related

thereto; (3) Drafting, review, execution and notarization of documents (including, but not limited

to, affidavits, notices, certificates, substitutions of trustees, and assignments) prepared or filed in

connection with foreclosures or sales of acquired properties, or in connection with remediation of

improperly filed documents; (4) Commencement, advancement and finality of foreclosures,

including, without limitation, any issues relating to standing, fees, or notices; (5) Acquisition of


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title post-foreclosure or in lieu of foreclosure; (6) Pursuit of pre- and post-foreclosure claims by

the Released Parties, including, without limitation, the seeking of deficiency judgments when

permitted by law, acts or omissions regarding lien releases, and evictions and eviction

proceedings; (7) Management, maintenance, and disposition of properties in default or properties

owned or controlled by the Released Parties, whether prior to or during the foreclosure process

or after foreclosure, and executing, notarizing, or recording any documents related to the sale of

acquired properties; (8) Quality control, quality assurance, compliance, audit testing, oversight,

reporting, or certification or registration requirements related to the foregoing; and (9) Trustee

functions related to the foreclosure of residential mortgage loans.

       II.      Release of Covered Conduct

       By their execution of this Consent Judgment, the Attorneys General that are parties to

this Consent Judgment release and forever discharge the Released Parties from the following:

any civil or administrative claim, of any kind whatsoever, direct or indirect, that an Attorney

General has or may have or assert, including, without limitation, claims for damages, fines,

injunctive relief, remedies, sanctions, or penalties of any kind whatsoever based on, arising out

of, or resulting from the Covered Conduct occurring between January 1, 2009, and December 31,

2012, as well as for all findings in the Multi-State Examination that was commenced on

December 20, 2010, except for claims and the other actions set forth in Section III below

(collectively, the “Released Claims”).

       This Release does not release any claims against any entity other than the Released

Parties as defined in Section I above.




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       III.     Claims and Other Actions Exempted from Release

       Notwithstanding the foregoing and any other term of this Consent Judgment, the

following claims are hereby not released and are specifically reserved:

       1.       Securities and securitization claims based on the offer, sale, or purchase of

securities, or other conduct in connection with investors or purchasers in or of securities,

regardless of the factual basis of the claim, including such claims of the state or state entities as

an owner, purchaser, or holder of whole loans, securities, derivatives or similar investments,

including, without limitation, mortgage backed securities, collateralized debt obligations, or

structured investment vehicles, and including, but not limited to, such claims based on the

following:

                a.     the creation, formation, solicitation, marketing, assignment, transfer, offer,

sale or substitution of securities, derivatives, or other similar investments, including, without

limitation, mortgage backed securities, collateralized debt obligations, collateralized loan

obligations, or structured investment vehicles;

                b.     representations, warranties, certifications, or claims made regarding such

securities or investments, such as representations, warranties, certifications or claims regarding

origination, funding, and underwriting activities, and including the eligibility, characteristics, or

quality of the mortgages or the mortgagors;

                c.     the transfer, sale, conveyance, or assignment of mortgage loans to, and the

purchase and acquisition of such mortgage loans by, the entity creating, forming and issuing the

securities, derivatives or other similar investments relating to such mortgage loans;




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               d.      all servicing-, foreclosure-, and origination-related conduct, but solely to

the extent that such claims are based on the offer, sale, or purchase of securities, or other conduct

in connection with investors or purchasers in or of securities; and

               e.      all Covered Conduct, but solely to the extent that such claims are based on

the offer, sale, or purchase of securities, or other conduct in connection with investors or

purchasers in or of securities.

For avoidance of doubt, securities and securitization claims based on the offer, sale, or purchase

of securities, or other conduct occurring in connection with investors or purchasers in or of

securities, that are based on any source of law, including, but not limited to, false claims acts or

equivalent laws, securities laws, and common law breach of fiduciary duty, are not released.

       2.      Claims against a trustee or custodian or an agent thereof based on or arising out of

the conduct of the trustee, custodian or such agent related to the pooling of residential mortgage

loans in trusts, mortgage backed securities, collateralized debt obligations, collateralized loan

obligations, or structured investment vehicles, including, but not limited to, the performance of

trustee or custodial functions in such conduct.

       3.      Liability based on PHH’s obligations created by this Consent Judgment.

       4.      Claims arising out of alleged violations of fair lending laws that relate to

discriminatory conduct in lending.

       5.      Claims of state, county and local pension or other governmental funds as

investors (whether those claims would be brought directly by those pension or other

governmental funds or by the Office of the Attorney General as attorneys representing the

pension or other governmental funds).


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         6.      Tax claims, including, but not limited to, claims relating to real estate transfer

taxes.

         7.      Claims of county and local governments and claims or disciplinary proceedings of

state regulatory agencies having specific regulatory jurisdiction that is separate and independent

from the regulatory and enforcement jurisdiction of the Attorney General.

         8.      Claims of county recorders, city recorders, town recorders or other local

government officers or agencies (or, for Hawaii only, where a statewide recording system is

applicable and operated by the state, claims by Hawaii; and for Maryland, where the recording

system is the joint responsibility of the counties or Baltimore City and the state, claims of the

counties or Baltimore City and the state), for fees relating to the recordation or registration

process of mortgages or deeds of trust, including assignments, transfers, and conveyances,

regardless of whether those claims would be brought directly by such local government officers

or agencies or through the Office of the Attorney General as attorneys representing such local

government officers or agencies.

         9.      Claims and defenses asserted by third parties, including individual mortgage loan

borrowers on an individual or class basis.

         10.     Claims seeking injunctive or declaratory relief to clear a cloud on title where the

Covered Conduct has resulted in a cloud on title to real property under state law; provided,

however, that the Attorneys General shall not otherwise take actions seeking to invalidate past

mortgage assignments or foreclosures in connection with loans serviced and/or owned by the

Released Parties. For the avoidance of doubt, nothing in this paragraph 10 releases, waives or

bars any legal or factual argument related to the validity of past mortgage assignments or


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foreclosures that could be made in support of claims not released herein, including, without

limitation, all claims preserved under paragraphs 1 through 13 of Section III of this Release.

       11.     Authority to resolve consumer complaints brought to the attention of PHH by the

state Attorneys General.

       12.     Claims for violation of state or federal law relating to residential mortgage loan

origination.

       13.     Claims for conduct discovered by Defendant during the course of its internal

audit in June 2014 and the resulting remediation process regarding a flaw in its automated

system to pay default counsel fees and costs, except that any claims for civil money penalties

in connection with this issue are released.




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                                           EXHIBIT D


                                            ARIZONA

Pursuant to Section III, Paragraph 7 of the Consent Judgment, payment to Arizona for attorneys’
fees and costs shall be made by wire transfer, a cashier’s check, or other certified funds, made
payable to the State of Arizona. Arizona’s payment of $390,000 shall be deposited in the
Consumer Protection-Consumer Fraud Revolving Fund, pursuant to A.R.S. § 44-1531.01, and
used in the sole discretion of the Arizona Attorney General for consumer protection investigative
and enforcement operations.

                                          CALIFORNIA

Payments to California shall be made to the California Attorney General and allocated as
follows:

a)    Ten percent of the payment shall be paid as a civil penalty pursuant to Section 17206 of
the Business and Professions Code and deposited in the Unfair Competition Law Fund;

b) $100,000 shall be deposited with the Consumer Protection Prosecution Trust Fund
previously created by the Stipulated Final Judgment and Permanent Injunction, filed on
September 21, 1989, in the case of People v. ITT Consumer Financial Corporation (Alameda
County Superior Court case number 656038-0); and

c)   The remainder shall be used for the California Attorney General's enforcement of
consumer protection laws, at the sole discretion of the California Attorney General.

                                          COLORADO

All payments are to be held, along with any interest thereon, in trust by the Attorney General to
be used in the Attorney General's sole discretion for reimbursement of the State’s actual costs
and attorneys’ fees, the payment of restitution, if any, and for future consumer fraud or antitrust
enforcement, consumer education, or public welfare purposes.

                                        CONNECTICUT

Pursuant to Section III, Paragraph 7 of the Consent Judgment, payment to Connecticut of
$390,000 for attorneys' fees shall be made by wire transfer pursuant to instructions to be
provided by the Connecticut Office of the Attorney General. Such payment shall be deposited
into the State of Connecticut General Fund.




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                                            FLORIDA

Pursuant to Section III, Paragraph 7 of the Consent Judgment, the $390,000 payment to Florida
for attorneys' fees shall be made by wire transfer, a cashier's check, or other certified funds, made
payable to the Department of Legal Affairs Revolving Trust Fund. The payment shall be
deposited in the Department of Legal Affairs Revolving Trust Fund, in accordance with Section
501.2101(1), Florida Statutes.

                                            ILLINOIS

PHH shall make payment to the “Attorney General Court Ordered and Voluntary Compliance
Payment Projects Fund” in the amount of $390,000 by wire transfer, pursuant to instructions
provided by the Illinois Attorney General’s Office. This payment shall be deposited into the
Attorney General Court Ordered and Voluntary Compliance Payment Projects Fund for
subsequent expenditure as authorized by the Illinois Attorney General. PHH shall not be entitled
to further accounting regarding the money deposited into the Court Ordered Fund.

                                              IOWA

PHH shall pay $550,000.00 to the Attorney General of Iowa by electronic funds transfer
according to written instructions received from the Attorney General of Iowa. The payment shall
be used at the sole discretion of the Attorney General of Iowa for any use permitted by law and
this Consent Judgment, including but not limited to: public education and litigation relating to
consumer fraud, mortgage, housing, and financial issues, including enforcement of Iowa Code
section 714.16, or for any other lawful purpose.

                                             NEVADA

Pursuant to Section III, Paragraph 7 of the Consent Judgment, the Nevada Attorney General shall
receive a payment of Three Hundred, Ninety Thousand dollars ($390,000) via wire
transfer. These funds shall be used at the sole discretion of the Nevada Attorney General for any
use permitted by state law, including but not limited to attorneys’ fees and other costs, consumer
protection purposes, or for any other lawful purpose.

                                      NORTH CAROLINA

Pursuant to Section III, Paragraph 7 of the Consent Judgment, North Carolina’s payment of
$390,000 shall be used for attorneys’ fees and other costs, consumer protection purposes, and
other purposes allowed by state law, in the discretion of the North Carolina Attorney General.




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                                              OHIO

Pursuant to Section III, Paragraph 7 of the Consent Judgment, Ohio’s payment of $390,000 shall
be distributed and delivered to the office of the Ohio Attorney General, and shall be placed in the
Consumer Protection Enforcement Fund created pursuant to section 1345.51 of the Ohio Revised
Code. The funds shall be used for the purposes described in Ohio Revised Code section 1345.51.

                                             TEXAS

Pursuant to Section III, Paragraph 7 of the Consent Judgment, Texas’s payment of $550,000 for
reimbursement of attorney’s fees shall be paid to the Texas Attorney General. Payment
instructions will be supplied to Defendant by the Texas Attorney General.

                                        WASHINGTON

Pursuant to Section III, Paragraph 7 of the Consent Judgment, Washington’s payment of
$390,000 shall be used for costs and reasonable attorney’s fees incurred by Washington in
pursuing this matter, for monitoring and potential enforcement of this Consent Decree, for future
enforcement of RCW 19.86, or for any lawful purpose in the discharge of the Attorney General’s
duties at the sole discretion of the Attorney General.




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